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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                          LUBBOCK DIVISION

   IN RE:                                        §
                                                 §
    REAGOR-DYKES MOTORS, LP, et al.              § Case No. 18-50214-rlj-11
                                                 § Jointly Administered
                            Debtors.             §




 _______________________________________________________________________

      SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION
            FOR REAGOR-DYKES AUTO GROUP, AS MODIFIED
 ________________________________________________________________________

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            COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION

                           Dated: September 3, 2019




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         The Debtors1 in the above-referenced, jointly-administered Chapter 11 bankruptcy cases
(collectively, “Reagor-Dykes” or the “Debtors”) hereby propose this Chapter 11 Plan of Reorganization
for Reagor-Dykes (the “Plan”) pursuant to §1121(a) of chapter 11 of title 11 of the United States Code,
11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”).

                                         SUMMARY OF THE PLAN

        1.     Summary Only. The following is a brief summary of the Plan’s general terms and
does not form a part of the Plan. This summary is qualified in its entirety by reference to the provisions
of the Plan. Capitalized terms used in this summary are defined in the Plan.

       2.      General Description of the Business. Reagor-Dykes historically operated eight (8)
new and pre-owned car Dealerships comprised of thirteen (13) Locations – twelve (12) in West Texas
and one (1) location in Dallas – as a consolidated group.

         3.      Alternative Paths to the Effective Date. This Plan provides two (2) alternative
paths to a successful exit from Chapter 11 for the Debtors: (a) the Restructuring Alternative, or (b) if
the Plan does not go effective under the Restructuring Alternative within seventy-five (75) days of
Confirmation,2 a controlled liquidation of assets via the Liquidation Alternative. The Debtors believe
that the Restructuring Alternative would yield the highest and best return for all creditors and parties
in interest. But, if the Debtors determine at any time – pre-Confirmation or post-Confirmation – that
despite their best efforts the Plan cannot go effective under the Reorganization Alternative, the
Liquidation Alternative shall take effect.

       4.      Plan and Treatment of Claims – Restructuring Alternative. Under the
Restructuring Alternative, the Plan will effectuate a reorganization of the Dealerships, the business,
and the operations. Under the Restructuring Alternative:

                   a) The Dealerships will be recapitalized by the Plan Sponsor or its
                      designee. The Reorganized Debtors will retain their operating
                      assets together with Causes of Action not resolved by this Plan,
                      and will continue to operate their business under a name selected
                      by the Plan Sponsor.

                   b) The franchise agreements with Ford Motor, General Motors,
                      Mitsubishi, and Toyota Company will be assumed and assigned in

1
 The Debtors are Reagor-Dykes Motors, LP (“RD Motors”) (Case No. 19-50214); Reagor-Dykes Imports, LP (“RD
Imports”) (Case No. 18-50215); Reagor-Dykes Amarillo (“RD Amarillo”)(Case No. 18-50216); Reagor-Dykes Auto
Company, LP (“RDAC”)(Case No. 18-50217); Reagor-Dykes Plainview, LP (“RD Plainview”)(Case No. 18-50218);
Reagor-Dykes Floydada, LP (“RD Floydada”)(Case No. 18-50219); Reagor-Dykes Snyder, L.P. (“Snyder”) (Case No.
18-50321); Reagor Auto Mall Ltd (“RAM”)(Case No. 18-50324); and Reagor-Dykes III LLC, (Case No. 18-50322),
Reagor-Dykes II LLC (Case No. 18-50323), and Reagor Auto Mall I LLC (Case No. 18-50325) (collectively, the “GP
Debtors”).
2
  Under the Plan, the Restructuring Alternative must go effective within seventy-five (75) days of the Confirmation Date
unless otherwise agreed by the United States Trustee or approved by the Court. Any request to extend this seventy-five
(75) day deadline must be filed prior to the expiration of same. The timely filing of such a motion shall toll the
expiration of the deadline until further ruling by the Court.

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                        the Plan.3

                   c) Post-confirmation, the Reorganized Debtors will benefit from the
                      proven operational expertise of Fin Ewing and his consulting
                      group (collectively, the “Fin Ewing Group”). The Fin Ewing
                      Group will provide consulting services to the Reorganized
                      Debtors. These consulting services will help the Reorganized
                      Debtors accomplish their long-term business and financial goals as
                      outlined in the Plan.

                   d) Directors and officers of the Reorganized Debtors will be
                      identified in the Plan Supplement Documents.

                   e) The Reorganized Debtors are expected to receive up to $13 mm
                      in cash (the “New Equity Infusion”) from the Plan Sponsor.
                      The New Equity Infusion may be a combination of (i) debtor-in-
                      possession financing approved by the Bankruptcy Court and
                      received by the Debtors before the Confirmation in a yet-to-be-
                      determined amount and (ii) equity financing received by the
                      Debtors after the Confirmation.

                   f) The New Equity Infusion will be used as follows: (i) approximately
                      $4.3 million as initial post-confirmation working capital on an as-
                      needed basis; (ii) pay all allowed, administrative expenses of the
                      Estates, which such expenses are estimated to be approximately
                      $4.5 million; (iii) approximately $.700 million to Qualified Retail
                      Lenders in Class 9; (v) up to approximately $2 million to Ford
                      Credit if certain conditions are satisfied; and (v) up to
                      approximately $1.5 million to GM Financial if certain conditions
                      are satisfied, including if GM Financial provides floorplan
                      financing to the Reorganized Debtors.

                   g) The equity of the Reorganized Debtors will be owned (i) 90% by
                      the Plan Sponsor or its designee and (ii) 10% by a Creditors Trust
                      for the express benefit of creditors holding Allowed Class 11
                      General Unsecured Claims.

                   h) Each Allowed Class 11 Claim will receive a beneficial interest in
                      the Creditors Trust. In addition to the 10% equity interest in the
                      Reorganized Debtors, the Creditors Trust Assets will include $1
                      million in cash contributed by Rick Dykes; funds contributed to
                      the Trust by the Plan Sponsor dedicated and earmarked for the
                      express purpose of resolving consumer issues, with the exact dollar
                      amount of such funds to be determined contemporaneous with
                      finalizing the terms upon which the Reorganized Debtors will
3
 Issues regarding assumption and assignment of the franchise agreements with Gulf States Toyota, Mitsubishi and
General Motors will not be sought via Confirmation of the Plan, but will instead be addressed post-confirmation on or
prior to dates to be agreed upon by the Debtors and Gulf State Toyota, Mitsubishi and General Motors.                   Formatted: DocID



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                     operate with Ford Motor Company; and all Causes of Action,
                     including all rights to challenge the extent, priority and validity of
                     alleged liens, will be transferred to the Creditors Trust and the
                     Creditors Trustee.

                i) Each beneficial interest and, the 10% equity, and the right to
                   Distributions on the Litigation Proceeds will be subject to a
                   redemption right that will allow the Reorganized Debtors to
                   redeem this equity upon payment in full of the Allowed amount of
                   Unsecured Claims converted to equity or such amount agreed by
                   the holders of such Unsecured Claims and the Reorganized
                   Debtors. After distributions to holders of Allowed Class 11
                   Unsecured Claims reach a total of $7.5 million, the Creditors’ Trust
                   will surrender this 10% equity and the Litigation Proceeds to the
                   Reorganized Debtors.

                j) The Creditors Trust will make distributions to all Allowed
                   Unsecured Claims in Class 11 pursuant to the terms and conditions
                   of this Plan and a Creditors Trust Agreement.

                k) The Reorganized Debtors will assume certain unsecured Assumed
                   Trade Claims under this Plan. The identity of such assumed
                   unsecured Assumed Trade Claims will be disclosed in the Plan
                   Supplement. Such Assumed Trade Claims will be treated in Class
                   10 and will not participate in Class 11.

                l)   Ford Credit’s secured claim will be paid in full by surrender of
                     Collateral.

                m) Ford Credit’s unsecured claim will be paid from Excess Cash Flow
                   and only after payment of all Allowed Administrative Expenses by
                   (i) a $1 million cash payment in 2020, (ii) a $1 million cash payment
                   in 2021, and (iii) a $5 million unsecured promissory note.

                n) The $5 million unsecured promissory note payable to Ford Credit
                   will have the following terms: (i) 10-year amortization, (ii) 7-year
                   balloon payment, (iii) 6.5% interest per annum, (iv) payment-in-
                   kind interest for 12 months, and (v) payable thereafter from Excess
                   Cash Flow.

                o) Payment of the $2.0 million to Ford Credit is subject to and
                   conditioned on (i) the assumption of the Debtors’ franchise
                   agreements with Ford Motor or issuance of a new franchise
                   agreement(s), and (iii) implementation of the Restructuring
                   Alternative under the Plan.

                p) GM Financial’s secured claim will be paid in full by surrender of
                   Collateral.
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                q) GM Financial’s unsecured claim will be paid as follows: As a
                   settlement and full and final satisfaction and release of all
                   unsecured claims, GM Financial will receive (i) $750,000 from
                   Excess Cash Flow by the later of (x) 180 days after the Effective
                   Date and (y) payment of all Allowed Administrative Expenses, and
                   (ii) another $750,000 from Excess Cash Flow no later than twelve
                   (12) months after the first $750,000 payment to GM Financial.

                r) Payment of the $1.5 million is subject to and conditioned on (i)
                   GM Financial providing floorplan financing to the Reorganized
                   Debtors on mutually agreed terms, (ii) the assumption of the
                   Debtors’ franchise agreement with General Motors or issuance of
                   a new franchise agreement, and (iii) implementation of the
                   Restructuring Alternative under the Plan.



                t)s) First Capital Bank’s secured claim will be paid as follows: In full
                     and final satisfaction of all First Capital’s secured claims against the
                     Debtors, First Capital Bank will receive (a) the net proceeds from
                     the liquidation of collateral after payment of (i) all fees incurred
                     and (ii) expenses reimbursed related to the liquidation of such
                     collateral, or (b) surrender of collateral.

                u)t) First Capital Bank’s unsecured claim is a Disputed Claim. To the
                     extent Allowed, First Capital Bank’s unsecured claim will be
                     treated in Class 11 and paid as follows: In full and final satisfaction
                     and release of all First Capital’s unsecured claims against the
                     Debtors, First Capital Bank will receive its Pro Rata Share of
                     Creditors Trust Assets, which includes 10% equity securities of the
                     Reorganized Debtors. All Causes of Action against First Capital
                     Bank are reserved under this Plan.

                v) FB&T’s secured claim will be paid as follows: In fullPursuant to
                   that certain Expedited Motion for Approval of Compromise and final                  Formatted: Font: Italic, Font color: Black, Expanded by 0.2
                   satisfaction of all secured Settlement with First Bank & Trust Texas,               pt

                   N.A. and the Order Granting Expedited Motion for Approval of
                   Compromise and Settlement with First Bank & Trust Texas, N.A.
                   entered thereon by the Court on November 18, 2019, the liens
                   alleged to secure FB&T’s claims against the Debtors, FB&T will
                   receive (a) the net proceeds from the liquidation of collateral after
                   payment of (i) all fees incurred and (ii) expenses reimbursed related
                   to the liquidation of such collateral, or (b) surrender of collateral.

                w)u)       FB&T’s unsecured claim is a Disputed Claim. To the
                   extent Allowed, FB&T’s unsecured claim will be are treated in
                   Class 11 and paid as follows: In full and final satisfaction and
                   release of all FB&T’s unsecured as avoided by consent, FB&T’s
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                      claims against are subordinated to the claims of all other creditors
                      of the Debtors, FB&T will receive its Pro Rata Share of Creditors
                      Trust Assets, which includes 10% equity securities of the
                      Reorganized Debtors. Estates, and FB&T will receive no
                      distribution under this Plan. All Causes of Action against FB&T
                      are reservedreleased under this Plan.

                 x)v)         Pursuant to the Plan, the Dealerships or Locations will be
                     operated on the same real estate where the Dealerships or
                     Locations were operated prior to and during the bankruptcy
                     case. That real estate is now owned by IBC Bank. IBC Bank has
                     given Rick Dykes and his assigns both an option right and a right
                     of first refusal to purchase the real estate at mutually-agreed and
                     confidential “strike prices.” To facilitate the Restructuring
                     Alternative, Rick Dykes has agreed to assign his option and right
                     of first refusal to the Reorganized Debtors to implement the
                     Restructuring Alternative.

                 y)w)        Each Qualified Retail Lender who (i) executes a TT&L
                    Agreement, (ii) provides the Reorganized Debtors with proof of
                    payment of a TT&L/Trade Liability, and (iii) agrees to provide
                    future retail lending to the Reorganized Debtors on terms mutually
                    acceptable to the Reorganized Debtors and said Retail Lender,
                    thereby becoming a Qualified Retail Lender, will be reimbursed
                    their Pro Rata Share for payment of the Debtors’ TT&L/Trade
                    Liability either (x) within sixty (60) days after the Effective Date if
                    funds are immediately available or (y) via receipt of an unsecured
                    promissory note payable by the Reorganized Debtors at 3%
                    interest per annum with a two-year term. Such reimbursement will
                    be made from the Qualified Retail Lender Pool. This Qualified
                    Retail Lender Pool will be up to $.700 million.

                 z)x)Allowed Administrative Claims will be paid at or before the
                     Effective Date, or on such terms as the Reorganized Debtors and
                     the holder of an Allowed Administrative Claim may otherwise
                     agree.

         5.      Plan and Treatment of Claims – Liquidation Alternative. Under the Liquidation
Alternative, the Plan will effect an orderly wind down of the Debtors’ business operations, a controlled
liquidation of all Collateral, and the transfer of all Causes of Action to the Creditors Trust. Pursuant
to the terms of the Plan and the Liquidation Alternative:

                  a) A Creditors Trust will be established and the Creditors Trustee will
                     be appointed upon Confirmation.

                  b) All Assets, including Causes of Action, and all rights to challenge
                     the extent, priority and validity of alleged liens, and all Collateral
                     not surrendered under the terms of this Plan will be transferred to
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                     the Creditors Trust and the Creditors Trustee.

                 c) All Holders of Allowed Administrative Claims will be paid from
                    liquidation proceeds in their relative priorities, all Holders of
                    Allowed Unsecured Claims will receive a beneficial interest in the
                    Creditors Trust equal to the pro rata amount of their Allowed
                    Unsecured Claim, and the Creditors Trustee will make
                    distributions to all Allowed Unsecured Claims in Class 11 pursuant
                    to the terms and conditions of this Plan and a Creditors Trust
                    Agreement.

                 d) Ford Credit’s Allowed Secured Claim will be paid in full by
                     surrender of Collateral.

                 e) Ford Credit’s Unsecured Claim is a Disputed Claim. To the extent
                    Allowed, Ford Credit’s Unsecured Claim will be treated in Class 12
                    and paid as follows: In full and final satisfaction and release of all
                    Ford Credit’s Unsecured Claims against the Debtors, Ford Credit
                    will receive its Pro Rata Share of the Creditors Trust Assets. All
                    Causes of Action against Ford Credit are reserved under the
                    Liquidation Alternative in this Plan.

                 f) GM Financial’s Allowed Secured Claim will be paid in full
                    surrender of Collateral.

                 g) GM Financial’s Unsecured Claim is a Disputed Claim. To the
                    extent Allowed, GM Financial’s Unsecured Claim will be treated
                    in Class 13 and paid as follows: In full and final satisfaction and
                    release of all GM Financial’s Unsecured Claims against the
                    Debtors, GM Financial will receive its Pro Rata Share of the
                    Creditors Trust Assets. All Causes of Action against GM Financial
                    are reserved under the Liquidation Alternative in this Plan.

                 h) Pursuant to that certain Expedited Motion for Approval of Compromise
                    and Settlement with First Bank & Trust Texas, N.A. and the Order
                    Granting Expedited Motion for Approval of Compromise and Settlement
                    with First Bank & Trust Texas, N.A. entered thereon by the Court
                    on November 18, 2019, the liens alleged to secure FB&T’s secured
                    claim is a Disputed Claim. To the extent Allowed, FB&T’s
                    Secured Claim will be paid as follows: In full and final satisfaction
                    of all secured claims against the Debtors, are treated as avoided by
                    consent, FB&T’s claims are subordinated to the claims of all other
                    creditors of the Estates, and FB&T will receive (i) the net proceeds
                    from the liquidation of collateral after payment of (x) all fees
                    incurred and (y) expenses reimbursed related to the liquidation of
                    such collateral, or (ii) surrender of collateral.

                 i)h)        FB&T’s unsecured claim is a Disputed Claim. To the
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                      extent Allowed, FB&T’s unsecured claim will be treated in Class
                      11 and paid as follows: In full and final satisfaction and release of
                      all FB&T’s unsecured claims against the Debtors, FB&T will
                      receive its Pro Rata Share of the Creditors Trust Assets. no
                      distribution under this Plan. All Causes of Action against FB&T
                      are reservedreleased under this Plan.

                  j)i) The Creditors Trust shall make distributions to Holders of
                       Allowed Class 11 Unsecured Claims of their Pro Rata Share
                       (calculated together with Allowed Claims in Classes 12, 13, 14 and
                       15) of the Creditors Trust Assets.

        Regardless of the alternative, all Causes of Action not otherwise compromised, settled and
released pursuant to this Plan are hereby preserved.

          Creditors holding Allowed Claims shall receive the following treatment under the Plan:

                 CLAIMANT                   TREATMENT:                                   TREATMENT:
                                           RESTRUCTURING                                 LIQUIDATION
 CLASS                                      ALTERNATIVE                                  ALTERNATIVE
                                                                                                                          Formatted Table
     1.      ALLOWED                Shall receive (i) Cash in an amount        Shall receive (i) Cash in an amount
             PRIORITY NON-          equal to the Allowed amount of such        equal to the Allowed amount of such
             TAX CLAIMS             Priority Non-Tax Claim on the              Priority Non-Tax Claim on the
                                    Effective Date or (ii) other treatment     Effective Date or (ii) other treatment
                                    consistent with the provisions of §        consistent with the provisions of §
                                    1129(a)(9) of the Bankruptcy Code;         1129(a)(9) of the Bankruptcy Code.
                                    provided, however, that Priority Non-Tax
                                    Claims that arise in the ordinary course
                                    of the Debtors’ business shall be paid
                                    by the Debtors or the Reorganized
                                    Debtors, as applicable, in the ordinary
                                    course of business.
   1A.       ALLOWED    9019        Shall receive Cash as soon reasonably      Shall receive Cash as soon reasonably
             LUBBOCK                practicable when funds are available       practicable when funds are available
             COUNTY CLAIM           after the Effective Date consistent        after the Effective Date consistent
                                    with the 9019 Order. Any amounts           with the 9019 Order.                       Formatted: Font: 10 pt
                                    due to Lubbock County Tax Assessor
                                    will be paid before payment to
                                    General Unsecured Creditors.

    2.       SECURED CLAIM          Ford Credit’s Class 2 Claim will be        Ford Credit’s Class 2 Claim will be paid
             OF FORD CREDIT         paid by surrender of the Collateral.       by surrender of the Collateral.
             COMPANY, LLC
                                    The amount, validity, extent, value,       The amount, validity, extent, value,
                                    and priority of the Allowed Secured        and priority of the Allowed Secured
                                    Class 2 Claim under § 506 of the           Class 2 Claim under § 506 of the
                                    Bankruptcy Code will be determined         Bankruptcy Code will be determined
                                    by the Bankruptcy Court after the          by the Bankruptcy Court after the
                                    Effective Date or pursuant to an           Effective Date. Any Deficiency Claim
                                    agreement between the Reorganized          or other Unsecured Claim of the
                                    Debtors and the Holder of the Class 2      Holder of the Class 2 Claim shall be
                                    Claim. Any Deficiency Claim or other       treated in Class 12.
                                    Unsecured Claim of the Holder of the
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               CLAIMANT                 TREATMENT:                                 TREATMENT:
                                      RESTRUCTURING                                LIQUIDATION
 CLASS                                 ALTERNATIVE                                 ALTERNATIVE
                              Class 2 Claim shall be treated in Class
                              12.

   3.      SECURED CLAIM      GM Financial’s Class 3 Claim will be       GM Financial’s Class 3 Claim will be
           OF GM              paid by surrender of the Collateral.       paid by surrender of the Collateral.
           FINANCIAL
                              The amount, validity, extent, value,       The amount, validity, extent, value,
                              and priority of the Allowed Secured        and priority of the Allowed Secured
                              Class 3 Claim under § 506 of the           Class 3 Claim under § 506 of the
                              Bankruptcy Code will be determined         Bankruptcy Code will be determined
                              by the Bankruptcy Court after the          by the Bankruptcy Court after the
                              Effective Date or pursuant to an           Effective Date. Any Deficiency Claim
                              agreement between the Reorganized          or other Unsecured Claim of the
                              Debtors and the Holder of the Class 3      Holder of the Class 3 Claim shall be
                              Claim. Any Deficiency Claim or other       treated in Class 13.
                              Unsecured Claim of the Holder of the
                              Class 3 Claim shall be treated in Class
                              13.

   4.      SECURED CLAIM      The Class 4 Claim will be satisfied in     First Capital Bank’s Class 4 Claim will
           OF FIRST CAPITAL   full and final satisfaction, settlement,   be satisfied in full by surrender of the
           BANK               release, and discharge of such Class 4     Collateral.
                              Claim (a) pursuant to an agreement
                              between the Reorganized Debtors and        The amount, validity, extent, value,
                              the Holder of Class 4 Claim or (b) if      and priority of the Allowed Secured
                              no agreement is reached, at the            Class 4 Claim under § 506 of the
                              Reorganized Debtors’ sole and              Bankruptcy Code will be determined
                              absolute option, (i) the net proceeds      by the Bankruptcy Court after the
                              from the liquidation of collateral after   Effective Date. Any Deficiency Claim
                              payment of all fees incurred and           or other Unsecured Claim of the
                              expenses reimbursed related to the         Holder of the Class 4 Claim shall be
                              liquidation of such collateral, or (ii)    treated in Class 11.                       Formatted: Not Highlight
                              surrender of collateral.

                              The amount, validity, extent, value,
                              and priority of the Allowed Secured
                              Class 4 Claim under § 506 of the
                              Bankruptcy Code will be determined
                              by the Bankruptcy Court after the
                              Effective Date or pursuant to an
                              agreement between the Reorganized
                              Debtors and the Holder of the Class 4
                              Claim. Any Deficiency Claim or other
                              Unsecured Claim of the Holder of the
                              Class 4 Claim shall be treated in Class
                              11.

   5.      CLAIM OF FIRST     The Class 5 Claim will be satisfied in     FB&T’s Class 5 Claim will be paid by
           BANK & TRUST       full and final satisfaction, settlement,   surrender of the Collateral.
                              release, and discharge of such Class 5
                              Claim (a) pursuant to an agreement         The amount, validity, extent, value,
                              between the Reorganized Debtors and        and priority of the Allowed Secured
                              the Holder of Class 5 Claim or (b) if      Class 5 Claim under § 506 of the
                              no agreement is reached, at the            Bankruptcy Code will be determined
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               CLAIMANT               TREATMENT:                                 TREATMENT:
                                   RESTRUCTURING                                 LIQUIDATION
 CLASS                               ALTERNATIVE                                ALTERNATIVE
                           Reorganized Debtors’ sole and              by the Bankruptcy Court after the
                           absolute option, (i) the net proceeds      Effective Date. Any Deficiency Claim
                           from the liquidation of collateral after   or other Unsecured Claim of the
                           payment of all fees incurred and           Holder of the Class 5 Claim shall be
                           expenses reimbursed related to the         treated in Class 11.
                           liquidation of such collateral, or (ii)
                           surrender of collateral.

                           The amount, validity, extent, value,                                                  Formatted: Adjust space between Latin and Asian text,
                           and priority of the Allowed Secured                                                   Adjust space between Asian text and numbers
                           Class 5 Claim under § 506 of the
                           Bankruptcy Code will be determined
                           by the Bankruptcy Court after the
                           Effective Date or pursuant to an
                           agreement between the Reorganized
                           Debtors and the Holder of the Class 5
                           Claim. Any Deficiency Claim or other
                           Unsecured Claim of the Holder of the
                           Class 5 Claim shall be treated in Class
                           11. pursuant to the terms of that          The Class 5 Claim will be satisfied in     Formatted: Adjust space between Latin and Asian text,
                           certain Expedited Motion for Approval of   full and final satisfaction, settlement,   Adjust space between Asian text and numbers
                           Compromise and Settlement with First       release, and discharge of such Class 5
                           Bank & Trust Texas, N.A. and the           Claim pursuant to the terms of that
                           Order Granting Expedited Motion for        certain Expedited Motion for Approval of
                           Approval of Compromise and Settlement      Compromise and Settlement with First
                           with First Bank & Trust Texas, N.A.        Bank & Trust Texas, N.A. and the
                           entered thereon by the Court on            Order Granting Expedited Motion for
                           November 18, 2019, the liens alleged       Approval of Compromise and Settlement
                           to secure FB&T’s claims against the        with First Bank & Trust Texas, N.A.
                           Debtors are treated as avoided by          entered thereon by the Court on
                           consent,     FB&T’s       claims    are    November 18, 2019, the liens alleged
                           subordinated to the claims of all other    to secure FB&T’s claims against the
                           creditors of the Estates, and FB&T         Debtors are treated as avoided by
                           will receive no distribution under this    consent,      FB&T’s       claims    are
                           Plan. All Causes of Action against         subordinated to the claims of all other
                           FB&T are released under this Plan.         creditors of the Estates, and FB&T will    Formatted: Not Highlight
                                                                      receive no distribution under this
                                                                      Plan. All Causes of Action against
                                                                      FB&T are released under this Plan.         Formatted: Not Highlight
                                                                                                                 Formatted Table
   6.      SECURED CLAIM   The Class 6 Claim will be satisfied in     AIM Bank’s Class 6 Claim will be paid
           OF AIM BANK     full and final satisfaction, settlement,   by surrender of the Collateral.
                           release, and discharge of such Class 6
                           Claim (a) pursuant to an agreement         The amount, validity, extent, value,
                           between the Reorganized Debtors and        and priority of the Allowed Secured
                           the Holder of Class 6 Claim or (b) if      Class 6 Claim under § 506 of the
                           no agreement is reached, at the            Bankruptcy Code will be determined
                           Reorganized Debtors’ sole and              by the Bankruptcy Court after the
                           absolute option, (i) the net proceeds      Effective Date. Any Deficiency Claim
                           from the liquidation of collateral after   or other Unsecured Claim of the
                           payment of all fees incurred and           Holder of the Class 6 Claim shall be
                           expenses reimbursed related to the         treated in Class 11.
                           liquidation of such collateral, or (ii)
                           surrender of collateral.
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               CLAIMANT             TREATMENT:                                   TREATMENT:
                                   RESTRUCTURING                                 LIQUIDATION
 CLASS                              ALTERNATIVE                                  ALTERNATIVE

                           The amount, validity, extent, value,
                           and priority of the Allowed Secured
                           Class 6 Claim under § 506 of the
                           Bankruptcy Code will be determined
                           by the Bankruptcy Court after the
                           Effective Date or pursuant to an
                           agreement between the Reorganized
                           Debtors and the Holder of the Class 6
                           Claim. Any Deficiency Claim or other
                           Unsecured Claim of the Holder of the
                           Class 6 Claim shall be treated in Class
                           11.

   7.      SECURED CLAIM   The Class 7 Claim will be satisfied in       Vista Bank’s Class 7 Claim will be paid
           OF VISTA BANK   full and final satisfaction, settlement,     by surrender of the Collateral.
                           release, and discharge of such Class 7
                           Claim (a) pursuant to an agreement           The amount, validity, extent, value,
                           between the Reorganized Debtors and          and priority of the Allowed Secured
                           the Holder of Class 7 Claim or (b) if        Class 7 Claim under § 506 of the
                           no agreement is reached, at the              Bankruptcy Code will be determined
                           Reorganized Debtors’ sole and                by the Bankruptcy Court after the
                           absolute option, (i) the net proceeds        Effective Date. Any Deficiency Claim
                           from the liquidation of collateral after     or other Unsecured Claim of the
                           payment of all fees incurred and             Holder of the Class 7 Claim shall be
                           expenses reimbursed related to the           treated in Class 11.
                           liquidation of such collateral, or (ii)
                           surrender of collateral.

                           The amount, validity, extent, value,
                           and priority of the Allowed Secured
                           Class 7 Claim under § 506 of the
                           Bankruptcy Code will be determined
                           by the Bankruptcy Court after the
                           Effective Date or pursuant to an
                           agreement between the Reorganized
                           Debtors and the Holder of the Class 7
                           Claim. Any Deficiency Claim or other
                           Unsecured Claim of the Holder of the
                           Class 7 Claim shall be treated in Class
                           11.

   8.      OTHER SECURED   Holders of Allowed Class 8 Claims, if        Holders of Allowed Class 8 Claims, if
           CLAIMS          any, shall be designated as Class 8A,        any, shall be designated as Class 8A,
                           Class 8B et seq. and shall be satisfied at   Class 8B et seq. and will be paid by
                           the Reorganized Debtors’ option by (i)       surrender of the Collateral.
                           payment of such Allowed Secured
                           Claim in full in cash, including interest,   The amount, validity, extent, value,
                           if applicable, as required under §           and priority of the Allowed Secured
                           506(b) of the Bankruptcy Code; (ii)          Class 8 Claim under § 506 of the
                           delivery of the Collateral securing such     Bankruptcy Code will be determined
                           Allowed Secured Claim; or (iii)              by the Bankruptcy Court after the
                           issuance of a restructured note with a       Effective Date. Any Deficiency Claim
                           present value equal to the amount of         or other Unsecured Claim of the
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               CLAIMANT                TREATMENT:                                  TREATMENT:
                                    RESTRUCTURING                                  LIQUIDATION
 CLASS                                ALTERNATIVE                                 ALTERNATIVE
                            the value of each Holder’s Collateral       Holder of the Class 8 Claim shall be
                            with interest payable at a rate of 3%       treated in Class 11.
                            annually, and payable in full in ten (10)
                            years.

                            The amount, validity, extent, value,
                            and priority, of any asserted Class 8
                            Claim under § 506 of the Bankruptcy
                            Code will be determined by the
                            Bankruptcy Court after the Effective
                            Date or pursuant to an agreement
                            between the Reorganized Debtors and
                            the Holder of the Class 8 Claim. Any
                            Deficiency Claim or other Unsecured
                            Claim of the Holder of the Class 8
                            Claim shall be treated in Class 11.

   9.      CLAIMS OF        As full and final satisfaction,             N/A under Liquidation Alternative
           QUALIFIED        settlement, release, and discharge of
           RETAIL LENDERS   such Class 9 Claim, each Qualified
           FOR PAYMENT OF   Retail Lender in Class 9 will receive its
           TT&L/TRADE       Pro Rata Share from the Qualified
           LIABILITY        Retail Lender Pool for reimbursement
                            for such Qualified Retail Lenders’
                            payment of a TT&L/Trade Liability.


  10.      ASSUMED TRADE    As full and final satisfaction,             N/A under Liquidation Alternative
           CLAIMS           settlement, release, and discharge of
                            such Class 10 Claim, each member of
                            the Plan Sponsor, the Debtors, and the
                            Reorganized Debtors, each Holder of
                            a Class 10 Claim will receive payment
                            in full, over time, through the
                            assumption of the indebtedness
                            underlying the Allowed Class 10 Claim
                            payable on terms to be agreed by each
                            Holder of a Assumed Trade Claim and
                            the Reorganized Debtors.


  11.      GENERAL          As full and final satisfaction,             As full and final satisfaction,
           UNSECURED        settlement, release, and discharge of       settlement, release, and discharge of
           CLAIMS           each Class 11 Claim against the             each Class 11 Claim against the
                            Debtors, each member of the Plan            Debtors, except as set forth below
                            Sponsor, and the Reorganized                with regard to IBC Bank, each Holder
                            Debtors, each Holder of a Class 11          of a Class 11 Claim shall be satisfied by
                            Claim shall be satisfied by Pro Rata        Pro Rata Share (calculated together
                                                                        with Allowed Claims in Classes 12, 13,
                                                                        14 and 15) of Distributions from the
                                                                        Creditors Trust Assets.

                                                                        Class 11 includes the Allowed
                                                                        Unsecured Claim of IBC Bank against
                                                                                                                    Formatted: DocID



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                   CLAIMANT                         TREATMENT:                                  TREATMENT:
                                                 RESTRUCTURING                                  LIQUIDATION
    CLASS                                          ALTERNATIVE                                 ALTERNATIVE
                                          Share of Distributions from Creditors      the Debtors in the reduced, agreed
                                          Trust Assets.4                             Allowed amount of $20 million,
                                                                                     provided however, that IBC Bank will
                                                                                     receive Distribution of its Pro Rata
                                          Class 11 includes the Allowed              Share of only $7 million of its Allowed
                                          Unsecured Claim of IBC Bank against        Class 11 Claim; IBC Bank will waive its
                                          the Debtors in the reduced, agreed         right to Distribution for the remainder
                                          Allowed amount of $20 million,             of its Allowed $20 million Unsecured
                                          provided however, that IBC Bank will       Claim for the benefit of the holders of
                                          waive all Distribution on its Allowed      all other Allowed Class 11 Claims in
                                          Class 11 Claim for the benefit of the      consideration of the release by the
                                          holders of all other Allowed Class 11      Estates of all Causes of Action against
                                          Claims in consideration of the release     IBC Bank, its directors, officers and
                                          by the Estates of all Causes of Action     employees.
                                          against IBC Bank, its directors,
                                          officers and employees.

                                                                                                                                  Formatted Table
     12.      UNSECURED                   Ford Credit’s Unsecured Claim will be      Ford Credit’s Unsecured Claim is a
              CLAIMS OF FORD              paid from Excess Cash Flow and only        Disputed Claim. To the extent
              CREDIT5                     after payment of all Allowed               Allowed, Ford Credit’s Unsecured
                                          Administrative Expenses by (i) a $1        Claim will be treated in Class 12 and
                                          million cash payment in 2020, (ii) a $1    paid as follows: In full and final
                                          million cash payment in 2021, and (iii)    satisfaction and release of all Ford
                                          a $5 million unsecured promissory          Credit’s Unsecured Claims against the
                                          note.                                      Debtors, Ford Credit will receive its
                                                                                     Pro Rata Share (calculated together
                                          The $5 million unsecured promissory        with Allowed Claims in Classes 11, 13,
                                          note will have the following terms: (i)    14 and 15) of Distributions from the
                                          10-year amortization, (ii) 7-year          Creditors Trust Assets. All Causes of
                                          balloon payment, (iii) 6.5% interest       Action against Ford Credit are
                                          per annum, (iv) payment-in-kind            reserved under this Plan.
                                          interest for 12 months, and (v)
                                          payable thereafter from Excess Cash
                                          Flow.




4
  Percentage Distribution to Holders of Allowed Class 11 Claims is dependent on a variety of risks and factors, including
the success of the Reorganized Debtors’ post-confirmation business operations, value of the Creditors Trust Assets, the
administration costs of the Creditor Trust, and whether the Restructuring or Liquidation Alternative proceeds.
5
   Classes 12 and 13 Claims are held by Ford Credit and GM Financial, respectively. Each is an affiliate of Original
Equipment Manufacturers or “franchisors” that are parties to franchise or “dealer” agreements with one or more of the
Debtors. The Class 12 and 13 Claims asserted by Ford Credit and GM Financial arise, in whole or in part from money
loaned for the purchase of vehicles from the Original Equipment Manufacturers, and in Ford Credit’s case from allegations of
out-of-trust sales or double floorplanned inventory as stated in pleadings in this Chapter 11 Case and the Ford Litigation. For
those reasons, the Claims in Classes 12 and 13 are qualitatively dissimilar to Assumed Trade Claims in Class 10 or General
Unsecured Claims in Class 11.
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                  CLAIMANT                      TREATMENT:                                    TREATMENT:
                                               RESTRUCTURING                                  LIQUIDATION
    CLASS                                       ALTERNATIVE                                   ALTERNATIVE

     13.      UNSECURED                GM Financial’s unsecured claim will          GM Financial’s Allowed Unsecured
              CLAIMS OF         GM     be paid as follows: As a settlement and      Claim will be treated in Class 13 and
              FINANCIAL                full and final satisfaction and release of   paid as follows: In full and final
                                       all unsecured claims, GM Financial           satisfaction and release of all GM
                                       will receive (i) $750,000 from Excess        Financial’s Unsecured Claims against
                                       Cash Flow by the later of (x) 180 days       the Debtors, GM Financial will receive
                                       after the Effective Date and (y)             its Pro Rata Share (calculated together
                                       payment of all Allowed Administrative        with Allowed Claims in Classes 11, 12,
                                       Expenses and (ii) another $750,000           14 and 15) of Distributions from the
                                       from Excess Cash Flow no later than          Creditors Trust Assets. All Causes of
                                       twelve (12) months after the first           Action against GM Financial are
                                       $750,000 payment to GM Financial.            reserved under the Liquidation
                                                                                    Alternative in this Plan.

     14.      UNSECURED                All prepetition claims of IBC Bank           Allowed Claims in Class 14 will receive
              CLAIMS OF IBC            against the Debtors, held directly or        their Pro Rata Share of the Creditors
              BANK                     indirectly, will be forgiven, and there      Trust Assets.{INTENTIONALLY
              {INTENTIONALLY           will be no Distributions to Claims in        LEFT BLANK}
              LEFT BLANK}              Class 14.
                                       {INTENTIONALLY                  LEFT
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     15.      UNSECURED                There will be no Distributions to            Allowed Claims in Class 15 will receive
              CLAIMS OF BART           Claims in Class 15.                          their Pro Rata Share of the Creditors
              REAGOR AND                                                            Trust Assets.
              RICK DYKES6


     16.      INTERCOMPANY             There will be no Distributions to            There will be no Distributions to
              CLAIMS                   Claims in Class 16.                          Claims in Class 16.




     17.      UNSECURED                There will be no Distributions to            There will be no Distributions to
              SUBORDINATED             Claims in Class 17.                          Claims in Class 17.
              CLAIMS




     18.      INTERESTS IN             All Interests will be cancelled and          All Interests will be cancelled and
              THE DEBTORS              discharged on the Effective Date, and        discharged on the Effective Date, and
                                       no holder of an Interest shall receive a     no holder of an Interest shall receive a
                                       Distribution on account of such              Distribution on account of such
                                       Interest.                                    Interest.




6The Class 15 Claims are held by Insiders. The estimated amount of the Class 15 Claims is at least $1.8 million. As part
of a Restructuring under this Plan, the Holders of the Class 15 Claims have agreed to waive and forego all Unsecured
Claims they hold against the Debtors and will receive no Distribution under this Plan.
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                                           ARTICLE I
                                         INTRODUCTION

        1.1.     Introduction.

       This Plan is proposed by and on behalf of the Debtors under Chapter 11 of the Bankruptcy
Code. Reference is made to the Disclosure Statement accompanying the Plan for a discussion of the
Debtors’ history, results of operations, and for a summary and analysis of the Plan. All Holders of
Claims against and Interests in the Debtors are encouraged to read the Plan and the Disclosure
Statement in their entirety before voting to accept or reject the Plan. Other than the Disclosure
Statement and any exhibits and schedules referenced therein or herein, no materials have otherwise
been approved by the Debtors for use in soliciting acceptances of this Plan.

        1.2.     General Plan Structure; Funding Sources for Restructuring Alternative;
                 Liquidation Alternative.

        The New Equity Infusion from the Plan Sponsor will be used to consummate the
Restructuring Alternative under this Plan. The New Equity Infusion will be a combination of (i)
debtor-in-possession financing approved by the Bankruptcy Court and received by the Debtors before
the Confirmation in a yet-to-be-determined amount and (ii) equity financing received by the Debtors
after the Confirmation. The New Equity Infusion will be used as follows: (i) approximately $4.3
million as initial post-confirmation working capital on an as-needed basis; (ii) pay all allowed,
administrative expenses of the Estates, which such expenses are estimated to be approximately $4.5
million; (iii) approximately $.700 million to Qualified Retail Lenders in Class 9; (v) up to $2 million to
Ford Credit from Excess Cash Flow and subject to satisfaction of certain conditions; and (v) up to
$1.5 million to GM Financial from Excess Cash Flow and subject to satisfaction of certain conditions,
including if GM Financial provides floorplan financing to the Reorganized Debtors.

        If the Restructuring Alternative is unsuccessful, the Plan will instead go effective via the
orderly and controlled disposition of all Assets by the Creditors Trustee under the Liquidation
Alternative.

                                     ARTICLE II
                          DEFINITIONS AND INTERPRETATION

         In addition to such other terms as may be defined in other provisions of the Plan, the following
capitalized terms shall have the following meanings:

        2.1.     Definitions.

       “9019 Lubbock County Claim” means the Allowed Priority Claim of Lubbock County
pursuant to the 9019 Order.

       “9019 Order” means the Order granting the Amended Motion for Approval of Settlement
and Compromise with Lubbock County Tax Assessor-Collector Under Bankruptcy Rule 9019
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        “Administrative Claim” means any cost or expense of administration in connection with
this Case of a kind specified in §§ 503(b) or 507(a)(1), including, without limitation, (a) the actual,
necessary costs and expenses of preserving the Estates and of operating the business of the Debtors,
including wages, salaries, commissions, or any other compensation for services rendered after the
commencement of the bankruptcy case; (b) compensation for legal or other services, and
reimbursement of costs and expenses under §§ 330(a) or 331, 363, or otherwise allowed by the Court;
and (c) all fees and charges assessed against the Estate under 28 U.S.C. § 1930. For the avoidance of
doubt, Administrative Claims include (a) fees earned and expenses incurred by Professionals; and (b)
expenses incurred, if any, by an Entity in making a substantial contribution in the Case pursuant to §§
503(b)(3) or (4).

        “Affiliate” means as set forth in § 101(2) of the Bankruptcy Code.

         “Allowed” means, with respect to Claims and Interests, (a) any Claim against or Interest in
the Debtors, proof of which is timely Filed or by order of the Bankruptcy Court is not or will not be
required to be Filed, (b) any Claim or Interest that has been or is hereafter listed in the Schedules as
neither disputed, contingent nor unliquidated, and for which no timely Filed proof of Claim has been
Filed, (c) any Interest registered in the Debtors’ books and records as of the Petition Date or (d) any
Claim allowed pursuant to the Plan and, in each such case in (a), (b) and (c) above, as to which either
(i) no objection to the allowance thereof has been Filed within the applicable period of time fixed by
the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, (ii) such an objection
is so Filed and the Claim or Interest shall have been allowed pursuant to a Final Order (but only to
the extent so allowed), or (iii) such an objection is so Filed and the Claim or Interest shall have been
stipulated as allowed by the Reorganized Debtor, (but only to the extent so stipulated).

        “Assets” means all assets of the Estates, including Causes of Action.

        “Assumed Trade Claims” means Claims, in the sole and absolute discretion of the
Reorganized Debtors, that will be assumed by the Reorganized Debtors and paid pursuant to an
agreement between each Holder of an Assumed Trade Claim and the Reorganized Debtors if this Plan
is Confirmed under the Restructuring Alternative.

       “Ballot” means the ballot form on which Holders of Impaired Claims entitled to vote on the
Plan shall indicate their acceptance or rejection of the Plan.

        “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as subsequently amended,
principally codified at 11 U.S.C. § 101, et seq. Unless otherwise stated herein or the Disclosure
Statement, all section (§) references contained in the Plan and Disclosure Statement are to the
Bankruptcy Code.

        “Bankruptcy Court” or “Court” means the United States Bankruptcy Court for the
Northern District of Texas, Lubbock Division, or, if such court ceases to have jurisdiction over the
Cases, such court or adjunct thereof having jurisdiction over the Case.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated by the
United States Supreme Court pursuant to 28 U.S.C. § 2075 as subsequently amended, and, where
appropriate, the Local Bankruptcy Rules of the Bankruptcy Court.

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         “Bar Date” means the deadline for timely Filing proofs of claim and proofs of interest by all
parties other than governmental units. For RD Motors, RD Imports, RD Amarillo, RDAC, RD
Plainview, RD Floydada, the Bar Date was December 5, 2018, for all parties other than governmental
units and is/was January 28, 2019, for the Filing of proofs of claims by all governmental units. For
RAM, Snyder and the GP Debtors, the Bar Date is/was March 28, 2019, for the Filing of proofs of
claim and proofs of interest by all parties other than governmental units, and is/was May 1, 2019, for
the Filing of proofs of claims by all governmental units. The Bar Date is the last date on which proofs
of claim or proofs of interest may be timely Filed against the Debtors.

        “Business Day” means any day except Saturday, Sunday, or any other day on which the law
authorizes commercial banks in the State of Texas to be closed.

        “Cash” means cash and cash equivalents that evidence immediately available funds.

        “Cash Collateral” means any Cash of the Debtors, or interest in Cash of the Debtors, that
serves as security for the repayment of a debt or the performance of an obligation owed by one or
more of the Debtors to the holder of an Allowed Secured Claim.

        “Causes of Action” means any action, cause of action, suit, account, controversy, agreement,
promise, right to legal remedies, right to equitable remedies, right to payment, and Claim, whether
known or unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, secured, unsecured and whether asserted or
assertable directly or indirectly or derivatively, in law, equity or otherwise, including (a) Chapter 5
Causes of Action; (b) those claims involved in those civil actions identified in each of the Debtors’
Statements of Financial Affairs; (c) other damages (general, exemplary, or both) relating to or based
on (i) fraud, negligence, gross negligence, willful misconduct, or any tort actions, (ii) violations of
federal or state securities laws, (iii) violations of applicable corporate or partnership laws, (iv) breaches
of fiduciary or agency duties, or (v) causes of action based on alter ego or other liability theories; (vi)
based on any other claim of the Debtors, to the extent not specifically compromised or released
pursuant to the Plan or an agreement referred to, or incorporated into, the Plan or Final Order entered
after notice and opportunity for hearing; (d) claims under any prepetition insurance policy of the
Debtors; (e) any claims of the Debtors for equitable subordination under § 510(c) or under other
applicable laws; (ef) any claim of the Debtors to recharacterize one or more Claims as Interests; and
(fg) any unresolved objection to any Disputed Claim.

       “Chapter 5 Causes of Action” means any Cause of Action arising under §§ 510, 544 through
551 and 553 or otherwise under the Bankruptcy Code.

        “Chapter 7” means chapter 7 of the Bankruptcy Code.

        “Chapter 11” means chapter 11 of the Bankruptcy Code.

        “Chapter 11 Cases” means, collectively, the voluntary Chapter 11 cases Filed by each of the
Debtors, currently pending in the Bankruptcy Court under Chapter 11 of the Bankruptcy Code, each
a Case, jointly administered under Case No. 18-50214.

        “Claim” means a claim against any one of the Debtors, whether or not asserted, as defined
in § 101(5), by whatever right the Creditor may have against such Debtor.
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       “Claims Objection Deadline” shall be 270 days after the Effective Date, unless extended
by Order of the Court.

       “Class” means any group of substantially similar Claims or Interests classified by the Plan
pursuant to § 1122.

        “Collateral” means any property of one or more of the Debtors or interest in property of
one or more of the Debtors that serves as security for the repayment of a debt or the performance of
an obligation owed by one or more of the Debtors to the holder of an Allowed Secured Claim.

       “Confirmation” means the entry of an order by the Court confirming this Plan pursuant to
§ 1129 of the Bankruptcy Code.

      “Confirmation Date” means the date of the entry of the Confirmation Order by the
Bankruptcy Court.

       “Confirmation Hearing” means the hearing held by the Bankruptcy Court regarding
Confirmation of the Plan, as such may be continued from time to time.

       “Confirmation Order” means the order signed by the Court and caused to be entered that
confirms this Plan pursuant to § 1129 of the Bankruptcy Code.

       “Contingent Claim” means a Claim whose existence, or alleged liability of one or more of
the Debtors thereon, is dependent on an event that has not occurred or may never occur.

       “Creditor” means any Entity that is the holder of a Claim that arose on or before the Petition
Date or a Claim of the kind specified in § 502(g), 502(h) or 502(i).

        “Creditors Trust” or “Trust” means the trust to be created pursuant to Article VIII of the
Plan.

       “Creditors Trust Agreement” or “Trust Agreement” means the trust agreement governing
the Creditors Trust, substantially in the form filed with the Bankruptcy Court as a Plan Supplement
Document executed by the Debtors and the Trustee.

         “Creditors Trust Assets” or “Trust Assets” means (a) under the Restructuring Alternative,
all Causes of Action and the Litigation Proceeds; $1 million in cash contributed by Rick Dykes; funds
contributed to the Trust by the Plan Sponsor dedicated and earmarked for resolution of consumer
TT&L issues, with the exact dollar amount of such funds to be determined contemporaneous with
finalizing the terms upon which the Reorganized Debtors will operate with Ford Motor Company;
and 10% of the New Equity of the Reorganized Debtors that will be issued to the Creditors Trust
pursuant to a Restructuring under this Plan for the express benefit of creditors holding Allowed Class
11 Claims against the Debtors, subject to the New Equity Redemption Right, provided however, that after
distributions to holders of Allowed Class 11 Unsecured Claims reach a total of $7.5 million, the
Creditors’ Trust will surrender this 10% equity to the Reorganized Debtors; and (b) under the
Liquidation Alternative, all Causes of Action and the Litigation Proceeds for the express benefit of
creditors holding Allowed Class 11, 12, 13, 14, and 15 Claims; in no event shall the Creditors Trust
Assets exceed the Allowed aggregate amount of Class 11, 12, 13, 14 and 15 Claims.
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       “Creditors Trust Beneficiaries” or “Trust Beneficiaries” means, under the Restructuring
Alternative, Holders of Allowed Class 11 Claims. and, under the Liquidation Alternative, Holders of
Allowed Class 11, 12, 13, 14, and 15 Claims.

        “Creditors Trust Interest” or “Trust Interest” means the beneficial ownership interest in            Formatted: Font: Bold
the Creditors Trust entitling the Holder of Allowed Class 11 ClaimsTrust Beneficiaries to share in
Distribution of the Creditors Trust Assets.

        “Creditors Trustee” or “Trustee” means Dennis Faulkner of Lain, Faulkner & Co., P.C.,                Formatted: Underline
assisted as necessary by BlackBriar Advisors, LLC.

        “Dealerships” means one or more of the Debtor entities.

       “Debtors” means Reagor-Dykes Motors, LP (Case NO. 18-50214), Reagor-Dykes Imports,
LP (Case No. 18-50215), Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto Company,
LP (Case No. 18-50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada,
LP (Case No. 18-50219), Reagor-Dykes Snyder, L.P. (Case No. 18-50321), Reagor-Dykes III LLC,
(Case No. 18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto Mall Ltd (Case No.
18-50324) and Reagor Auto Mall I LLC (Case No. 18-50325).

         “Deficiency Claim” means any portion of a Claim (a) to the extent the value of the holder’s
interest in Assets securing such Claim is less than the amount of such Claim or (b) to the extent the
amount of a Claim is subject to setoff is less than the amount of the Claim, each as determined by §
506(a) of the Bankruptcy Code.

         “Disallowed” means, with respect to a Claim, any portion thereof, that (a) has been
disallowed by either a Final Order or pursuant to a settlement, or (b)(i) is set forth in the Schedules at
zero or as contingent, disputed, or unliquidated and (ii) as to which a Bar Date has been established
but no proof of claim has been Filed or deemed timely Filed with the Bankruptcy Court pursuant to
either the Bankruptcy Code or any Final Order of the Bankruptcy Court or otherwise deemed timely
Filed under applicable law.

         “Disclosure Statement” means that certain Disclosure Statement in Support of Chapter 11 Plan of
Reorganization for Reagor-Dykes accompanying this Plan, as approved by the Bankruptcy Court for
distribution pursuant to § 1125 [Docket No. __], together with any amendments or modifications
thereto.

         “Disputed Claim” means the portion (including, when appropriate, the whole) of a Claim
that is not an Allowed Claim as to which: (a) a proof of Claim has been Filed, or deemed Filed under
applicable law or order of the Bankruptcy Court; (b) an objection has been or may be timely Filed;
and (c) such objection has not been: (i) withdrawn, (ii) overruled or denied in whole or in part pursuant
to a Final Order, or (iii) granted in whole or part pursuant to a Final Order. Before the time that an
objection has been or may be Filed, a Claim shall be considered a Disputed Claim (a) if the amount
or classification of the Claim specified in the proof of Claim exceeds the amount or classification of
any corresponding Claim scheduled by a Debtor in its Schedules, to the extent of such excess; (b) in
its entirety, if any corresponding Claim scheduled by a Debtor has been scheduled as disputed,
contingent or unliquidated in its Schedules; or (c) in its entirety, if no corresponding Claim has been
scheduled by a Debtor in its Schedules.
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        “Disputed Claim Reserve Account” means the reserve account created pursuant to this
Plan for the benefit of Unsecured Disputed Claims that become Allowed Claims.

       “Disputed Administrative Claim Reserve Account” means the reserve account created
pursuant to this Plan for the benefit of the Disputed Administrative, Priority Claims or Other Secured
Claims that become Allowed Claims.

        “Distribution(s)” means the payment of money or issuance of interest in accordance with
this Plan.

         “EBITDA” means for any period of consolidated Debtors, the net income of consolidated
Debtors, determined in accordance with generally accepted accounting principles consistently applied,
plus (a) interest expense for such period, plus (b) federal and state income taxes of Debtors for such
period, plus (c) all depreciation and amortization of capitalized costs for such period. The adjustments
described in (a), (b) and (c) above shall be made only to the extent such amounts were deducted from
or included in the calculation of Debtors’ net income.

        “Effective Date” means the first Business Day on which all conditions to the occurrence of
the Effective Date, as set forth in this Plan, have been satisfied or duly waived.

        “Entity(ies)” means any individual, corporation, partnership, joint venture, association, joint
stock company, unincorporated organization, estate, trust, governmental unit, or other entity including
one of the Debtors and the United States Trustee, whether singular or plural.

      “Estates” means the bankruptcy estates created in these Cases pursuant to § 541 of the
Bankruptcy Code.

        “Estimated Claim” means any Disputed Claim which is estimated in accordance with
§502(c) of the Code. For purposes of distribution, the estimated amount of such Disputed Claim shall
be deemed the Allowed Amount of such Claim. For the full satisfaction of its Estimated Claim, a
Claimant shall have, as its sole and exclusive remedy, the rights to payment provided under this Plan
and shall have no other rights or remedies and may not, following the Effective Date, assert any other
right against the Debtors, Claimant’s Estimated Claim being deemed Allowed and fully satisfied by
the Debtors’ payment obligations described in this Plan, and any amount in excess thereof being fully
released, voided and discharged by the confirmation of this Plan.

        “Excess Cash Flow” means, for any period of determination, the remainder of (a) EBITDA
for such period, minus (b) the sum, without duplication, of (i) scheduled repayments of principal of
the Note made during such period, plus (ii) voluntary prepayments of the Note made during such
period, plus (iv) all income taxes paid in cash by Debtor during such period, plus (v) cash interest
expense of Debtor during such period.

       “Executory Contract” means any prepetition executory contract or unexpired lease governed
by § 365 of the Code.

       “Exit Financing” means replacement floorplan financing for one or more of the Dealerships
or Locations provided pursuant to the Exit Financing Documents, if necessary.

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        “Exit Financing Documents” means any credit agreement between the Debtors and an Exit
Lender providing replacement floorplan financing for one or more of the Dealerships or Locations,
and all documents related to that credit agreement.

       “Exit Lender” means an entity or financial institution, other than Ford Credit or GM
Financial, that provides the Reorganized Debtors with replacement floorplan financing post-
confirmation if this Plan is Confirmed under the Restructuring Alternative.

        “Face Amount” means (a) with respect to a particular Claim, (i) if the Claim is listed in the
Schedules and the holder of such Claim has not Filed a proof of Claim within the applicable period
of limitation fixed by the Bankruptcy Court pursuant to the Bankruptcy Code, the Bankruptcy Rules
or other applicable law, the amount of such Claim that is listed in the Schedules as not disputed,
contingent or unliquidated; or (ii) if the holder of such Claim has Filed a proof of Claim with the
Bankruptcy Court within the applicable period of limitation fixed by the Bankruptcy Court pursuant
to the Bankruptcy Code, the Bankruptcy Rules or other applicable law, the liquidated amount stated
in such proof of Claim, or such amount as is determined by the Final Order of the Bankruptcy Court;
(b) in the case of an Administrative Claim, the liquidated amount set forth in any application Filed
with respect thereto, or the amount set forth in the Debtors’ books and records or such amount as is
determined pursuant to a Final Order; or (c) in all other cases, zero or such amount as shall be fixed
or estimated pursuant to a Final Order.

        “FB&T” means First Bank & Trust.

        “Fee Claim” means a Claim by a Professional or any other party-in-interest pursuant to
§§ 327, 328, 330, 331, 363, 503(b) or 1103 of the Bankruptcy Code or otherwise relating to services
performed after the Petition Date and prior to and including the Effective Date.

        “File” or “Filed” or “Filing” means file or filed or filing with the Bankruptcy Court in this
Case.

        “Final Decree” means an Order of the Bankruptcy Court closing the Case.

       “Final Distribution” means the last and final Distribution made by the Creditors Trustee to
the Creditors Trust Beneficiaries such that the Creditors Trustee may proceed to dissolve and
terminate the Creditors Trust.

          “Final Order” means an Order or judgment of the Bankruptcy Court entered by the Clerk
of the Bankruptcy Court on the docket in the Chapter 11 Cases, which has not been reversed, vacated
or stayed and as to which (a) the time to appeal, petition for certiorari or move for a new trial,
reargument or rehearing has expired and as to which no appeal, petition for certiorari or other
proceedings for a new trial, reargument or rehearing shall then be pending or (b) if an appeal, writ of
certiorari, new trial, reargument or rehearing thereof has been sought, such order or judgment of the
Bankruptcy Court shall have been affirmed by the highest court to which such order was appealed, or
certiorari shall have been denied or a new trial, reargument or rehearing shall have been denied or
resulted in no modification of such order, and the time to take any further appeal, petition for certiorari
or move for a new trial, reargument or rehearing shall have expired; provided, however, that the
possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule

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under the Bankruptcy Rules, may be Filed relating to such order, shall not cause such order not to be
a Final Order.

        “First Capital Bank” means FirstCapital Bank of Texas, N.A., the prepetition floorplan
lender to RAM.

     “Ford Credit” means Ford Motor Credit Company, LLC, the prepetition floorplan lender to
RDAC, RD Floydada, RD Amarillo, RD Imports, RD Motors and RD Plainview.

        “Ford Credit Note” means a $5 million unsecured promissory note. The $5 million
unsecured promissory note will have the following terms: (i) 10-year amortization, (ii) 7-year balloon
payment, (iii) 6.5% interest per annum, (iv) payment-in-kind interest for 12 months, and (v) payable
thereafter from Excess Cash Flow on a quarterly basis. If the Liquidation Alternative is implemented,
then Ford Credit’s unsecured claim will be a Disputed Claim, and, to the extent Allowed, Ford Credit’s
unsecured claim will be treated in Class 12 and will receive a Pro Rata Share of Creditors Trust Assets.
Under the Liquidation Alternative, all Causes of Action against Ford Credit are preserved under this
Plan. Ford Credit will not participate in Class 10 or Class 11. The Ford Credit Note will only apply if
the Restructuring Alternative is implemented.

       “Ford Litigation” means the lawsuit styled Ford Motor Credit Company LLC v. Reagor-
Dykes Amarillo, L.P. et al., Civil Action No. 5:18-cv-00186, in the United States District Court for the
Northern District of Texas (Lubbock Division).

        “Ford Motor” means Ford Motor Company.

        “General Motors” means General Motors LLC.

        “GM Financial” means AmeriCredit Financial Services, Inc., d/b/a GM Financial, the
prepetition floorplan lender to Snyder.

        “GM Financial Secured Note” means secured promissory note with a present value equal
to the amount of the value of GM Financial’s Collateral with principal and 3% per annum interest
payable upon liquidation of that Collateral. The GM Financial Secured Note will be a Plan Supplement
Document.

       “General Unsecured Claim” means every Claim against each of the Debtors that is not an
Administrative Claim, a Priority Tax Claim, a Priority Non-Tax Claim, a Secured Claim, an Assumed
Trade Claim, an Unsecured Claim of Ford Credit, an Unsecured Claim of GM Financial, an Unsecured
Claim of Bart Reagor, an Unsecured Claim of Rick Dykes, a Subordinated Claim, or an Interest in the
Debtors.

        “Auto Investment Group” means the group of investors formed by Henry Resources to
own and operate the Reorganized Debtors. Henry Resources will own and control at least 50% of
this group.

        “Holder” or “holder” means an Entity holding a Claim or Interest.

        “IBC Bank” means International Bank of Commerce.
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        “Impaired” means as set forth in § 1124 of the Bankruptcy Code.

       “Interest” means equity in a Debtor, whether or not asserted, by an equity security holder as
defined in § 101(17).

       “Insider” means any Entity that is either an “affiliate” or an “insider” as those terms are
defined in § 101(2) and (31) of the Bankruptcy Code.

       “Intercompany Claim” means any Claim that any Debtor holds or asserts against another
Debtor.

       “Lien” means any Security Interest, charge against, encumbrance on or other interest in
property, the purpose of which is to secure payment of a debt or performance of an obligation.

        “Liquidation Alternative” means the process by which all Assets of the Debtors, including
all Causes of Action, will be transferred to a Creditors Trust and liquidated in a controlled fashion
pursuant to this Plan.

         “Litigation Proceeds” means the net proceeds received from Causes of Action, after
payment of (a) all fees incurred and expenses reimbursed related to the prosecution, litigation, or
liquidation of such Causes of Action and (b) all other Administrative Expenses. Litigation Proceeds
received by the Creditors Trust under the Liquidation Alternative will not exceed the Allowed Class
11, Class 12, Class 13, Class 14, and Class 15 Claims.

       “Locations” means one or more of the following brick and mortar automobile dealerships
operated by the Debtors, as the context requires: Reagor-Dykes Plainview Ford, Reagor-Dykes
Chevrolet Floydada, Reagor-Dykes Amarillo Mitsubishi, Reagor-Dykes Mitsubishi Lubbock, Spike
Dykes Ford Lamesa, Reagor-Dykes Auto Mall, Reagor-Dykes Auto Mall Downtown, Reagor-Dykes
Auto Mall Dallas (permanently closed), Reagor-Dykes Auto Mall Imports, Reagor-Dykes Auto Mall
of Midland, Reagor-Dykes Chevrolet Buick GMC, Reagor-Dykes Toyota Plainview, Reagor-Dykes
Auto Mall West Lubbock, and Reagor-Dykes Auto Mall Leveland.

        “New Equity” means all shares of partnership interests, stock, or membership interests, as
the case may be, in the Reorganized Debtors.

        “New Equity Infusion” means, collectively, (a) the Plan Sponsor Advances plus (b) the up
to $13 million in cash that the Plan Sponsor will invest in the Reorganized Debtors on the Effective
Date of this Plan to be used for working capital and as set forth pursuant to the terms and conditions
of this Plan.

         “New Equity Infusion Documents” means (a) the Plan Sponsor Credit Documents and
all other agreements executed or contemplated to be executed in connection with the Plan Sponsor
DIP Facility, if same becomes necessary, and (b) all documents executed by and between the Debtors
and the Plan Sponsor governing the $13 million cash portion of the New Equity Infusion by the Plan
Sponsor pursuant to the terms and conditions of this Plan.

       “New Equity Redemption Right” means the redemption right under which the Plan
Sponsor may choose, at its sole discretion, to redeem the 10% of the New Equity owned by the
Creditors Trust in exchange for payment to the Creditors Trust of the total amount of Allowed Class      Formatted: DocID



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11, 12 and 13 Claims entitled to Distributions from the Creditors Trust pursuant to this Plan or each
Beneficial Interest in the Creditors Trust on the payment of the value of that Beneficial Interest or an
amount agreed by the Holder of the Beneficial Interest.

        “Order” means any mandate, precept, command, or direction given by a court.

       “Other Secured Claim” means any Secured Claim other than the asserted alleged Secured
Claims of Ford Credit, GM Financial, First Capital, FB&T, AIM Bank, and Vista Bank.

        “Person” means a person as defined in § 101(41) of the Bankruptcy Code.

        “Petition Date” means, for RD Motors, RD Imports, RD Amarillo, RDAC, RD Plainview,
RD Floydada, August 1, 2018, and, for RAM, Snyder and the GP Debtors, November 2, 2018, each
the date on which the referenced Cases were commenced.

      “Plan” means this Second Amended Chapter 11 Plan of Reorganization for Reagor-Dykes, dated
September 3, 2019, including any amendments or modifications hereto.

        “Plan Documents” means the agreements, documents and instruments entered into on or
as of the Effective Date as contemplated by, and in furtherance of, the Plan (including all documents
necessary to consummate the transactions contemplated in the Plan), copies of which shall be available
to Creditors upon request to Debtors’ counsel.

        “Plan Sponsor” means the entity(ies) owned by Auto Investment Group, SLJ Company, or
other investor identified in the Plan Supplement or at the Confirmation Hearing if SLJ Company
declines to participate, Rick Dykes, and Ron Blaylock. The Plan Supplement Documents will outline
the final equity percentages of ownership in the Plan Sponsor, but the initial equity percentages of
ownership in the Plan Sponsor are as follows: (a) Auto Investment Group = 65%; (b) SLJ Company
= 20; and (c) Ron Blaylock = 5%.

       “Plan Sponsor Advances” means the funds actually advanced by Plan Sponsor to the
Debtors under the Plan Sponsor DIP Facility, if any.

       “Plan Sponsor DIP Facility” means the debtor-in-possession financing, if any, received by
the Debtors pursuant to §§ 105(a) and 364(c)(1) and (2) pursuant to the Plan Sponsor DIP Order.

       “Plan Sponsor DIP Order” means the Final Order granting any motion authorizing the
Debtors to incur postpetition financing from the Plan Sponsor.

         “Plan Sponsor Superpriority Claim” means the Plan Sponsor’s or any member or equity
partner of the Plan Sponsor’s Allowed, senior, superpriority Administrative Claim against the Estates,
such claim having priority in payment over any other indebtedness and/or obligation now in existence
or incurred hereafter by the Debtors and over all Administrative Claims or charges arising in the
Chapter 11 Cases and any subsequent Chapter 7 cases including, without limitation, those specified in
Bankruptcy Code §§ 362, 503(b), 506(c), 507(b), 726, 1113 or 1114 as set forth in a Plan Sponsor DIP
Order, should one be entered.

        “Plan Supplement Document(s)” means the documents, including (each as necessary and
to the extent applicable under the Restructuring or Liquidation Alternatives) the Schedule of Assumed
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Contracts and Non-Real Property Leases, the Creditors Trust Agreement, the Creditors Trust
Agreement, a description of the Plan Sponsor, the New Equity Infusion Documents, the Exit
Financing Documents (if any), and the identity of the individuals who will serve on the Reorganized
Debtors’ initial board(s) of directors, all of which shall be included in a notice Filed with the
Bankruptcy Court not less than ten (10) days prior to the Voting Deadline, unless otherwise
established by the Court in a separate Order. The Plan Supplement Documents may be reviewed via
the Bankruptcy Court’s ECF docket for this Case, via www.jndla.com/cases/rdmotors, or requested
in writing from the Debtors’ counsel.

       “Post-Confirmation Business Plan” means the three-year (3) projections of the income and
expenses of the Reorganized Debtors under a Restructuring Alternative (inclusive of a variance of up
to 15% in the aggregate), including payroll, professional fees, operational expenses, and payments due
to Allowed Administrative Claims, Priority Tax Claims, and Priority Non-Tax Claims attached to the
Disclosure Statement as Exhibit B.

       “Priority Non-Tax Claim” means a Claim, other than an Administrative Claim or a Priority
Tax Claim or the 9019 Lubbock County Claim, entitled to priority in payment under § 507(a).

        “Priority Tax Claim” means a Claim entitled to priority in payment pursuant to §§ 502(i) and
507(a)(8).

        “Professional” means each Entity that is either (a) employed pursuant to an order of the
Court in accordance with §§ 327 or 1103 providing for compensation for services rendered prior to
the Effective Date pursuant to §§ 327, 328, 329, 330 331, and 363, (b) seeking compensation and
reimbursement pursuant to §§ 503(b)(2) or (4), or (c) awarded compensation and reimbursement by
the Bankruptcy Code pursuant to § 503(b)(4) of the Bankruptcy Code inclusive of such Entities’
predecessors, professionals, successors, assigns, affiliates, current officers and directors, principals,
shareholders, members, partners, managers, employees, subcontractors, agents, advisory board
members, financial advisors, attorneys, accountants, investment bankers, consultants, representatives,
management companies, and other professionals, and such entities’ respective heirs, executors, estates,
servants, and nominees, in each case in their capacity as such.

        “Pro Rata” means, as it relates to Claims, the proportion that an Allowed Claim in a particular
Class bears to the aggregate amount of all Allowed Claims in that Class and, as it relates to equity in
the Reorganized Debtor, the proportion of New Equity Infusion contributed by one bears to the
aggregate amount of all New Equity Infusion contributed by all.

        “Pro Rata Share” means, at any time, and, (a) as it relates to Allowed Claims, the proportion
that the Face Amount of the Allowed Claim in a particular Class bears to the aggregate Face Amount
of all Allowed Claims in such Class and (b) as it relates to equity in the Reorganized Debtors, the
proportion that the New Equity Infusion contributed by one party bears to the aggregate amount of
the New Equity Infusion contributed by all parties.

        “Qualified Retail Lender” means a Retail Lender who casts a ballot accepting this Plan and
(i) executes a TT&L Agreement, (ii) provides the Reorganized Debtors with proof of payment of a
TT&L/Trade Liability, and (iii) agrees to provide future retail lending on terms mutually acceptable
to the Reorganized Debtors and said Retail Lender.

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       “Qualified Retail Lender Pool” means the up to $.700 million funded on the Effective Date
earmarked to reimburse all Qualified Retail Lenders if this Plan goes effective under the Restructuring
Alternative.

        “Rejection Damages Claim” means any Claim arising from the rejection of any executory
contract or unexpired lease, including any Claim of (a) a lessor for damages resulting from the rejection
of a lease of real property as any such Claim shall be calculated in accordance with § 502(b)(6) or (b)
an employee for damages resulting from the rejection of an employment agreement as any such Claim
shall be calculated in accordance with § 502(b)(7). A Rejection Damages Claim shall constitute a
General Unsecured Claim treated in Class 11.

     “Rejection Damages Bar Date” means the later of thirty (30) days after such Rejection
Damages Claim is Allowed by Final Order or thirty (30) days after the Effective Date.

       “Released Parties” means the Debtors, Professionals of the Estates, the Plan Sponsor, and
Rick Dykes.

        “Releasing Parties” means (a) Holders of Claims who vote to accept the Plan but do not
opt out of the releases on the Ballot, (b) Holders of Claims that are Unimpaired under this Plan; (c)
Holders of Claims whose vote to accept or reject this Plan is solicited but who do not vote to either
accept or reject this Plan; and (d) Holders of Claims who vote to reject the Plan but do not opt out of
the releases on the Ballot.                                                                                 Formatted: Not Highlight
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        “Reorganized Debtors” means the Debtors, as reorganized as of the Effective Date.

        “Restructuring or Restructuring Alternative” means the Debtors’ financial and operational
restructuring, the principal terms of which are in the Plan, the Plan Supplement Documents and Plan
Documents.

        “Retail Lenders” means a retail financing lender that provided prepetition financing to a
consumer customer of Reagor-Dykes in the ordinary course of business, inclusive of funds loaned to
pay tax, title and license fees on a consumer’s newly purchased vehicle and/or funds loaned to payoff
liens on a consumer’s trade-in vehicle.

       “Schedules” means the Schedules of Assets and Liabilities Filed by the Debtors under § 521 and
Bankruptcy Rule 1007 on October 19, 2018 [Docket Nos. 421, 423, 425, 427, 429 and 431 for RD
Motors, RD Plainview, RD Amarillo, RDAC, RD Floydada, RD Imports], on December 17, 2018
[Docket Nos. 720-722 for the GP Debtors], on December 19, 2018 [Docket No. 731 for Snyder] and
on December 27, 2018 [Docket No. 750 for RAM], each as amended from time to time.

        “Schedule of Assumed Executory Contracts and Unexpired Leases” means the list of
each Executory Contract not already identified in this Plan for assumption that the Debtors intend to
assume on the Effective Date or as soon as reasonably practicable thereafter. For the avoidance of
doubt, this Schedule of Assumed Contracts and Unexpired Leases includes all real property leases to
be assumed and non-real-property leases and executory contracts to be assumed, and will be Filed as
part of the Plan Supplement Documents.

        “Secured Claim” means a Claim that arose before the Petition Date, to the extent secured
by a lien or other Security Interest on property of the Debtors, which lien is valid, perfected, and        Formatted: DocID



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enforceable under applicable law and which is not subject to avoidance under the Bankruptcy Code
or other applicable non-bankruptcy law and which is duly established in the Case.

        “Security Interest” means as defined in § 101(51) of the Bankruptcy Code.

        “Toyota” means Gulf States Toyota, Inc.

       “TT&L/Trade Liability” means the dollar amount of funds actually advanced by a Retail
Lender post-petition to pay the outstanding (a) tax, title and license fees on a vehicle purchased prepetition
and/or (b) amount of a prepetition lien against a trade-in vehicle of a Reagor-Dykes consumer customer.

        “Unclaimed Property” means any Cash or other property unclaimed made in respect of the
relevant Allowed Claim or Allowed Interest. Unclaimed Property shall include: (a) checks (and the
funds represented thereby) mailed to an address of a holder of an Allowed Claim or Interest and
returned as undeliverable without a proper forwarding address; (b) funds for uncashed checks; and (c)
checks (and the funds represented thereby) not mailed or delivered because no address to mail or
deliver such property was available.

      “Unexpired Lease” means a lease to which one of the Debtors is a party that is subject to
assumption or rejection under § 365 of the Bankruptcy Code.

        “Unimpaired” means not Impaired.

        “Unsecured Claim” means a Claim that is not secured by Collateral.

        “U.S. Trustee” means the United States Trustee for the Northern District of Texas.

        “Voting Deadline” means November 22, 2019, at 5:00 p.m. (prevailing Central Time), which
is the deadline established by the Court for the submission of Ballots to counsel for the Debtors in
accordance with the Voting Procedures.

       “Voting Procedures” means the procedures for submitting a Ballot in which a holder of a
Claim votes for or against the Plan as described in the Disclosure Statement.

        2.2.     Interpretation, Rules of Construction, and Other Terms

        (a)     Any term used in this Plan that is not defined herein, whether in Article I or elsewhere,
 but that is used in the Bankruptcy Code or the Bankruptcy Rules, has the meaning assigned to that
 term in the Bankruptcy Code or the Bankruptcy Rules and shall be construed in accordance with the
 rules of construction thereunder.

         (b)    If a conflict between the Plan and the Disclosure Settlement exists, the Plan will govern
 over the Disclosure Statement. If a conflict between the Plan and any document implementing the
 Plan exists, the document shall govern. If a conflict between the Plan and the Confirmation Order
 exists, the Confirmation Order shall govern.

         (c)     The words “herein,” “hereof,” “hereto,” “hereunder,” and others of similar import,
 refer to the Plan as a whole and not to any particular article, section, or clause contained in this Plan.
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        (d)      Unless specified otherwise in a particular reference, a reference in this Plan to an article
 or section is a reference to that article or section of this Plan.

      (e)     Unless otherwise provided for herein, any reference in this Plan to an existing
document or instrument means such document or instrument as it may have been amended,
modified, or supplemented from time to time.

        (f)    As contextually appropriate, each term stated in either the singular or plural shall
 include both the singular and the plural.

       (g)     In addition to the above, the rules of construction set forth in § 102 of the Bankruptcy
 Code shall apply to this Plan.

      (h)     Use of the word “include” or any form thereof means “including without limitation”
without repeating the same each time used. Further, each definition above includes the plural as the
context requires.

        (i)     All exhibits to this Plan are incorporated into this Plan, and shall be deemed to be
 included in this Plan, regardless of when Filed with the Court.

        2.3.     Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall
apply in computing any period of time prescribed or allowed herein.

        2.4.     Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code
and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Texas, without
giving effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
implementation of the Plan, any agreements, documents, instruments, or contracts executed or
entered into in connection with the Plan (except as otherwise set forth in those agreements; in which
case, the governing law of such agreement shall control); provided, however, that corporate
governance matters relating to the Debtors or the Reorganized Debtors, not incorporated in Texas
shall be governed by the laws of the state or province of incorporation of the Debtors.

        2.5.     Reference to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States of
America, unless otherwise expressly stated.

                                    ARTICLE III
                      CLASSIFICATION OF CLAIMS AND INTERESTS

       Pursuant to § 1122 of the Bankruptcy Code, and for the purposes of voting and all
confirmation matters, except as otherwise provided herein, all Claims against and all Interests in the
Debtors shall be classified as set forth in this Article III.

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        3.1.     Administrative Claims and Priority Tax Claims

        As provided in § 1123(a) of the Bankruptcy Code, Administrative Claims and Priority Tax
Claims shall not be classified; thus, they are excluded from the Classes of Claims and Interests set
forth in the Plan.

        3.2.     Plan Sponsor Superpriority Claim

       The Plan Sponsor Superpriority Claim, if any, may be converted to its Pro Rata Share or other
amount agreed by the Reorganized Debtor and Plan Sponsor of the 90% of New Equity in the
Reorganized Debtors allocated to the Plan Sponsor.

        3.3.     Classes of Claims and Interests

       A Claim or Interest is in a particular Class only to the extent the Claim or Interest is an Allowed
Claim or Allowed Interest as defined herein. For purposes of organization, voting, and all
confirmation matters, except as otherwise provided herein, all Claims (except for Administrative
Claims and Priority Tax Claims) and Interests shall be classified as follows:




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               Type of Allowed                Treatment:                  Treatment:                                      Formatted: Centered
 Class                                                                                                  Status
               Claim or Interest             Restructuring                Liquidation
  1        Priority Non-Tax Claims      Cash Distribution              Cash Distribution        Unimpaired; Deemed to
                                                                                                Accept.
  1A       9019 Lubbock County          Cash Distribution              Cash Distribution        Impaired; Entitled to
           Claim                                                                                Vote
  2        Secured Claim of Ford        Return of Collateral           Return of Collateral     Impaired; Entitled to
           Credit                                                                               Vote
  3        Secured Claim of GM          Return of Collateral           Return of Collateral     Impaired; Entitled to
           Financial                                                                            Vote

  4        Secured Claim of First       Cash Distributions and/or      Return of Collateral     Impaired; Entitled To
           Capital Bank                 Return of Collateral                                    Vote
  5        Secured Claim of FB&T        Cash Distributions and/or      Return            of     Impaired; Entitled to
                                        Return of CollateralNo         CollateralNo             Vote
                                        Distribution                   Distribution
  6        Secured Claim of AIM         Cash Distributions and/or      Return of Collateral     Impaired, Entitled to
           Bank                         Return of Collateral                                    Vote
  7        Secured Claim of Vista       Cash Distributions and/or      Return of Collateral     Impaired, Entitled to
           Bank                         Return of Collateral                                    Vote
  8        Other Secured Claim          Cash Distributions, Return     Cash Distributions       Impaired, Entitled to
                                        of     Collateral    and/or    and/or Return of         Vote
                                        Restructured Note              Collateral
  9        Claims of Qualified Retail   Cash from Qualified Retail     N/A                      Impaired; Entitled to
           Lenders For Payment of       Lender Pool                                             Vote
           TT&L/Trade Liability
  10       Assumed Trade Claims         As Agreed by Reorganized       N/A                      Impaired; Entitled to
                                        Debtors and Holders of                                  Vote
                                        Class 10 Claims
  11       General Unsecured Claims     Distributions      from        Distributions from       Impaired; Entitled   to
                                        Creditors Trust                Creditors Trust          Vote
  12       Unsecured Claims of Ford     Cash Payment; Unsecured        Distributions from       Impaired, Entitled   to
           Credit                       Promissory Note                Creditor Trust           Vote
  13       Unsecured Claims of GM       Cash Payment                   Distributions from       Impaired, Entitled   to
           Financial                                                   Creditor Trust           Vote
  14       Unsecured Claims of IBC      No Distributions to Such       Distributions from       Impaired, Entitled   to
           Bank{Intentionally Left      Claims{Intentionally Left      Creditor                 Vote{Intentionally
           Blank}                       Blank}                         Trust{Intentionally      Left Blank}
                                                                       Left Blank}
  15       Unsecured Claims of Bart     No Distributions    to Such    Distributions from       Impaired;   Entitled to
           Reagor and Rick Dykes        Claims                         Creditors Trust          Vote
  16       Intercompany Claims          No Distributions    to Such    No Distributions to      Impaired;   Deemed to
                                        Claims                         Such Claims              Reject.
  17       Unsecured Subordinated       No Distributions    to Such    No Distributions to      Impaired;   Deemed to
           Claims                       Claims                         Such Claims              Reject
  18       Interests in the Debtors     Interests shall     not   be   Interests shall not be   Impaired;   Deemed to
                                        retained                       retained                 Reject.

                                   ARTICLE IV
                     TREATMENT OF CERTAIN UNCLASSIFIED CLAIMS

         4.1.    Administrative Claims

         (a)     Time for Filing Administrative Claims.
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        For any Administrative Claim, other than (i) a Professional Fee Claim, (ii) a liability incurred
and payable in the ordinary course of business by the Debtors, or (iii) an Administrative Claim that
has been Allowed on or before the Effective Date, an application or request for payment must be
Filed with the Bankruptcy Court and served on the Reorganized Debtors or the Creditors Trustee as
the case may be, the Office of the United States Trustee, within thirty (30) days after the Effective
Date, unless an earlier date is established by the Bankruptcy Court.

         Such notice must include at a minimum (i) the name of the holder of the Claim, (ii) the amount
of the Claim, and (iii) the basis of the Claim. Failure to timely and properly File and serve the
application required under this subsection shall result in the Administrative Claim being forever barred
and discharged. Any party in interest may File an objection to an Administrative Claim Filed pursuant
to this subsection in accordance with the timeframes and procedures set forth in the Bankruptcy Rules.

        (b)      Time for Filing Fee Claims.

        Each Professional who holds or asserts an Administrative Claim that is a Fee Claim for
compensation for services rendered and reimbursement of expenses incurred prior to the Effective
Date shall be required to File with the Bankruptcy Court and serve on all parties required to receive
such notice a fee application within sixty (60) days after the Effective Date. Failure to timely and
properly File and serve a fee application as required under this Section shall result in the Fee Claim
being forever barred and discharged. No Fee Claim will be deemed Allowed until an order allowing
the Fee Claim becomes a Final Order. Any party in interest may File an objection to a Fee Claim, but
any objection must be Filed in accordance with the timeframes and procedures set forth in the
Bankruptcy Rules.

        (c)      Payment of Allowed Administrative Claims.

         Except to the extent that any Person entitled to payment of an Administrative Claim agrees
otherwise, each Holder of an Allowed Administrative Claim (other than Fee Claims) shall, in full and
final satisfaction of any Administrative Claim, receive Cash from the Reorganized Debtors, or the
Creditors Trustee as the case may be, in an amount equal to such Allowed Administrative Claim on
or as soon as reasonably practicable following the later to occur of: (a) the Effective Date and (b) the
date on which such Administrative Claim becomes an Allowed Administrative Claim; provided,
however, Allowed Administrative Claims representing liabilities incurred in the ordinary course of
business by the Debtors may be paid in full in the ordinary course of business in accordance with the
terms and subject to the conditions of any agreements governing, instruments evidencing, or other
documents relating to such transactions, provided that either (x) such Allowed Administrative Claims
were included in the cash-collateral budgets previously approved by the Bankruptcy Court, or (y) the
Bankruptcy Court approves such payments in writing.

        Each Professional that intends to File a Fee Claim must provide the Debtors a reasonable
estimate of the amount of such Fee Claim at least five (5) days prior to the Confirmation Hearing. On
the Effective Date, the Debtors shall transfer Cash in an amount sufficient to pay the Fee Claims
reasonably estimated by such Professionals to a trust account maintained by the Debtors’ counsel
under the Restructuring Alternative. The Debtors’ counsel shall hold such Cash in trust for the
exclusive purpose of paying Allowed Fee Claims, and any excess funds remaining after all Fee Claims
have been resolved by a Final Order of the Bankruptcy Court shall be transferred to and retained by
the Reorganized Debtors or the Creditors Trustee as the case may be. Each Allowed Fee Claim, after
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deducting any retainer, shall be paid from such trust account within five (5) Business Days after such
Claim is Allowed by a Final Order.

        Notwithstanding any other provision of the Plan, all fees, expenses and other compensation
arising after the Effective Date and due and payable to Professionals retained by the Reorganized
Debtors shall be paid by the Reorganized Debtors first from funds remaining from those reserved for
fees and then from operations of the Reorganized Debtors should the Restructuring Alternative go
effective.

        All trade payables and current liabilities of the Debtors, excluding payments to utility service
providers, that (a) arise in the ordinary course of business after the Effective Date, including payroll
and salaries which have accrued prior to the Effective Date, and (b) otherwise qualify as
Administrative Claims, shall be paid by the Reorganized Debtors in the ordinary course of business
should the Restructuring Alternative go effective.                                                           Formatted: Font: Not Bold


        (d)      Allowed Administrative Claim of IBC Bank

        Upon agreement with the Debtors, IBC Bank holds an Allowed Administrative Claim in the
amount of $1.5 million, provided however, that IBC Bank has assigned the right to receive any and all
Distributions on such Allowed Administrative Claim to the Creditors Trust in consideration of the
release by the Estates of all Causes of Action against IBC Bank, its directors, officers and employees.

        4.2.     Post-Confirmation Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Effective Date, the
Reorganized Debtors shall, in the ordinary course of business and without further notice or action,
order or approval of the Bankruptcy Court, pay in Cash the reasonable legal, professional, or other
fees and expenses related to the implementation and consummation of the Plan incurred by the
Reorganized Debtors through and including the Effective Date. Upon the Confirmation Date, any
requirement that Professionals comply with §§ 327 through 331 and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the
Reorganized Debtors may employ and pay any Professional for services rendered or expenses incurred
after the Confirmation Date in the ordinary course of business without further notice to any party or
action, order, or approval of the Bankruptcy Court.

        4.3.     Priority Tax Claims

         At the election of the Debtors or the Creditors Trustee, as the case may be, each holder of an
Allowed Priority Tax Claim will receive from the Reorganized Debtors or the Creditors Trust in full
satisfaction of such Allowed Priority Tax Claim (i) payments in Cash, in regular installments over a
period ending not later than five (5) years after the Petition Date, of a total value, as of the Effective
Date, equal to the Allowed amount of such Claim; (ii) a lesser amount in one Cash payment as may
be agreed in writing by such holder; or (iii) such other treatment as may be agreed in writing by such
holder; provided, that such agreed treatment may not provide such holder with a return having a
present value as of the Effective Date that is greater than the amount of such holder’s Allowed Priority
Tax Claim or that is less favorable than the treatment provided to the most favored nonpriority
Unsecured Claims under the Plan. The Confirmation Order shall enjoin any holder of an Allowed
Priority Tax Claim from commencing or continuing any action or proceeding against any responsible
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person, officer or director of the Reorganized Debtors that otherwise would be liable to such holder
for payment of an Allowed Priority Tax Claim so long as the Debtors or the Creditors Trustee, as the
case may be, are in compliance with this Section. So long as the holder of an Allowed Priority Tax
Claim is enjoined from commencing or continuing any action or proceeding against any responsible
person, officer, or director under this Section or pursuant to the Confirmation Order, the statute of
limitations for commencing or continuing any such action or proceeding shall be tolled. To the extent
interest is required to be paid on any Allowed Priority Tax Claim, the rate of such interest shall be the
rate provided in § 511 of the Bankruptcy Code. Notwithstanding the foregoing, any penalty arising
with respect to or in connection with an Allowed Priority Tax Claim shall be treated as a Class 11
General Unsecured Claim.

        4.4.     Payment of Statutory Fees

        All fees due and payable on or before the Effective Date (i) pursuant to 28 U.S.C. § 1930, as
determined by the Bankruptcy Court at the Confirmation Hearing, and (ii) to the United States
Trustee, shall be paid by the Debtors on or before the Effective Date. All such fees payable after the
Effective Date shall be paid by the Reorganized Debtors or the Creditors Trustee, as the case may be,
until entry of the final decree in the Bankruptcy Case.

                                 ARTICLE V
                 TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

        5.1.     Class 1 – Allowed Priority Non-Tax Claims (Restructuring or Liquidation
                 Alternative)

                 (a)    Classification. Class 1 consists of Priority Non-Tax Claims.

                 (b)     Treatment. Except to the extent that a Holder of an Allowed Priority Non-
Tax Claim agrees to less-favorable treatment, in exchange for full and final satisfaction, settlement,
release, and discharge of each Allowed Priority Non-Tax Claim, each Holder of such Allowed Priority
Non-Tax Claim shall be paid (a) in full in Cash by the Reorganized Debtors or the Creditors Trustee,
as the case may be, on or as reasonably practicable after (i) the Effective Date, (ii) the date on which
such Priority Non-Tax Claim against the Debtors becomes an Allowed Priority Non-Tax Claim, or
(iii) such other date as may be agreed by the parties or ordered by the Bankruptcy Court; Date or (b)
shall receive treatment consistent with the provisions of § 1129(a)(9) of the Bankruptcy Code; provided,
however, that Priority Non-Tax Claims that arise in the ordinary course of the Debtors’ business shall
be paid by the Debtors or the Reorganized Debtors, as applicable, in the ordinary course of business.

                (c)   Impairment and Voting. Class 1 is Unimpaired. In accordance with §
1126(f) of the Bankruptcy Code, each Holder of a Class 1 Claim is presumed to accept this Plan;
therefore, no such Holder is entitled to vote to accept or reject this Plan.

        5.1A. Class 1A – Allowed 9019 Lubbock County Claim (Restructuring or Liquidation
        Alternative)

              (d)      Classification. Class 1A consists of the Allowed 9019 Lubbock County
Claim pursuant to the 9019 Order.
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               (e)      Treatment. Consistent with the terms of the 9019 Order, except to the extent
that the Holder of the Allowed 9019 Lubbock County Claim agrees to less-favorable treatment, in
exchange for full and final satisfaction, settlement, release, and discharge of the 9019 Lubbock County
Claim, Class 1A shall be paid in full in Cash by the Reorganized Debtors or the Creditors Trustee, as
the case may be, as soon reasonably practicable when funds are available after the Effective Date.

                 (f)   Impairment and Voting. Class 1A is Impaired and entitled to vote to accept
or reject the Plan.

        5.2.     Class 2 – Secured Claim of Ford Credit (Restructuring or Liquidation
                 Alternative)

                 (a)    Claim and Lien Determination. The amount, validity, extent, value, and
priority of the Allowed Secured Class 2 Claim under § 506 of the Bankruptcy Code will be determined
by the Bankruptcy Court after the Effective Date or pursuant to an agreement between the
Reorganized Debtors and the Holder of the Class 2 Claim. Any Deficiency Claim or other Unsecured
Claim of the Holder of the Class 2 Claim shall be treated in Class 12.

                (b)     Treatment. Ford Credit’s Class 2 Claim will be paid in full by delivery of the
Collateral securing such Allowed Secured Claim.

                (c)     Impairment and Voting. Class 2 is Impaired under the Plan. Class 2
includes only the Secured Claim of Ford Credit. The Holder of a Class 2 Claim is entitled to vote to
accept or reject the Plan. Under the Liquidation Alternative, all Causes of Action against Ford Credit
are preserved under the Plan.

        5.3.     Class 3 — Secured Claim of GM Financial (Restructuring or Liquidation
                 Alternative)

                 (a)    Claim and Lien Determination. The amount, validity, extent, value, and
priority of the Allowed Secured Class 3 Claim under § 506 of the Bankruptcy Code will be determined
by the Bankruptcy Court after the Effective Date or pursuant to an agreement between the
Reorganized Debtors and the Holder of the Class 3 Claim. Any Deficiency Claim or other Unsecured
Claim of the Holder of the Class 3 Claim shall be treated in Class 13.

                 (b)    Treatment. GM Financial’s Class 3 Claim will be paid in full by delivery of
the Collateral securing such Allowed Secured Claim.

                (c)    Impairment and Voting. Class 3 is Impaired under the Plan. Class 3
includes only the Secured Claim of GM Financial. The Holder of a Class 3 Claim is entitled to vote
to accept or reject the Plan. Under the Liquidation Alternative, all Causes of Action against GM
Financial are preserved under this Plan.

        5.4.     Class 4 — Secured Claim of First Capital Bank (Restructuring or Liquidation
                 Alternative)

                 (a)    Claim and Lien Determination. The amount, validity, extent, value, and
priority of the Allowed Secured Class 4 Claim under § 506 of the Bankruptcy Code will be determined
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by the Bankruptcy Court after the Effective Date or pursuant to an agreement between the
Reorganized Debtors and the Holder of the Class 4 Claim. Any Deficiency Claim or other Unsecured
Claim of the Holder of the Class 4 Claim shall be included as a Class 11 General Unsecured Claim.

                 (b)      Treatment: Restructuring Alternative. The Class 4 Claim will be satisfied
in full and final satisfaction, settlement, release, and discharge of such Class 4 Claim (a) pursuant to
an agreement between the Reorganized Debtors and the Holder of Class 4 Claim or (b) if no
agreement is reached, at the Reorganized Debtors’ sole and absolute option, (i) the net proceeds from
the liquidation of collateral after payment of all fees incurred and expenses reimbursed related to the
liquidation of such collateral, or (ii) surrender of collateral.

               (c)     Treatment: Liquidation Alternative. In full and final satisfaction of all
secured Class 4 claims against the Debtors, First Capital Bank will receive surrender of the Collateral.

                (d)      Impairment and Voting. Class 4 is Impaired under the Plan. Class 4
includes only the Secured Claim of First Capital Bank. Each Holder of a Class 4 Claim is entitled to
vote to accept or reject the Plan. All Causes of Action against First Capital Bank are preserved under
the Plan.

        5.5.     Class 5 — Secured Claim of First Bank & Trust (Restructuring or Liquidation
                 Alternative)

               (a)     ClaimTreatment: Pursuant to that certain Expedited Motion for Approval of
Compromise and Lien Determination. The amount, validity, extent, value,Settlement with First Bank             Formatted: Font: Not Bold, Italic, Font color: Black,
& Trust Texas, N.A. and priority, of the Allowed Secured Class 5 Claim under § 506Order Granting              Expanded by 0.2 pt

Expedited Motion for Approval of the Bankruptcy Code will be determinedCompromise and Settlement with         Formatted: Font: Italic, Font color: Black, Expanded by 0.2
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First Bank & Trust Texas, N.A. entered thereon by the Bankruptcy Court after the Effective Date or
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pursuant to an agreement between the Reorganized Debtors and the Holder of the Class 5 Claim.                 pt
Any Deficiency Claim or other Unsecured Claim of the Holder of the Class 5 Claim shall be included
as a Class 11 General Unsecured Claim.

                 (b)       Treatment: Restructuring Alternative. The Class 5 Claim will be satisfied
in full and final satisfaction, settlement, release, and discharge of such Class 5 Claim (a) pursuanton
November 18, 2019, the liens alleged to an agreement between the Reorganized Debtors and the
Holder of Class 5 Claim or (b) if no agreement is reached, at the Reorganized Debtors’ sole and
absolute option, (i) the net proceeds from the liquidation of collateral after payment of all fees incurred
and expenses reimbursed related to the liquidation of such collateral, or (ii) surrender of collateral.

               (c)(a) Treatment: Liquidation Alternative. In full and final satisfaction of all
secured Class 5secure FB&T’s claims against the Debtors, FB& are treated as avoided by consent,
FB&T’s claims are subordinated to the claims of all other creditors of the Estates, and FB&T will
receive surrender of the Collateralno distribution under this Plan.

                (d)(b) Impairment and Voting. Class 5 is Impaired under the Plan. Class 5
includes only the Secured Claim of FB&T. Each Holder of aPursuant to the Motion and Order
referenced in the preceding paragraph, Class 5 Claim is entitledhas agreed to vote to accept or reject
the Plan. All Causes of Action against FB&T are preservedreleased under the Plan.
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        5.6.     Class 6 — Secured Claim of AIM Bank (Restructuring or Liquidation
                 Alternative)

                 (a)    Claim and Lien Determination. The amount, validity, extent, value, and
priority of the Allowed Secured Class 6 Claim under § 506 of the Bankruptcy Code will be determined
by the Bankruptcy Court after the Effective Date or pursuant to an agreement between the
Reorganized Debtors and the Holder of the Class 6 Claim. Any Deficiency Claim or other Unsecured
Claim of the Holder of the Class 6 Claim shall be included as a Class 11 General Unsecured Claim.

                 (b)      Treatment: Restructuring Alternative. The Class 6 Claim will be satisfied
in full and final satisfaction, settlement, release, and discharge of such Class 6 Claim (a) pursuant to
an agreement between the Reorganized Debtors and the Holder of Class 6 Claim or (b) if no
agreement is reached, at the Reorganized Debtors’ sole and absolute option, (i) the net proceeds from
the liquidation of collateral after payment of all fees incurred and expenses reimbursed related to the
liquidation of such collateral, or (ii) surrender of collateral.

               (c)       Treatment: Liquidation Alternative. In full and final satisfaction of all
secured Class 6 claims against the Debtors, AIM Bank will receive surrender of the Collateral.

                (d)     Impairment and Voting. Class 6 is Impaired under the Plan. Class 6
includes only the Secured Claim of AIM Bank. Each Holder of a Class 6 Claim is entitled to vote to
accept or reject the Plan. All Causes of Action against AIM Bank are preserved under the Plan.

        5.7.     Class 7 — Secured Claim of Vista Bank (Restructuring or Liquidation
                 Alternative)

                 (a)    Claim and Lien Determination. The amount, validity, extent, value, and
priority of the Allowed Secured Class 7 Claim under § 506 of the Bankruptcy Code will be determined
by the Bankruptcy Court after the Effective Date or pursuant to an agreement between the
Reorganized Debtors and the Holder of the Class 7 Claim. Any Deficiency Claim or other Unsecured
Claim of the Holder of the Class 7 Claim shall be included as a Class 11 General Unsecured Claim.

                 (b)      Treatment: Restructuring Alternative. The Class 7 Claim will be satisfied
in full and final satisfaction, settlement, release, and discharge of such Class 7 Claim (a) pursuant to
an agreement between the Reorganized Debtors and the Holder of Class 7 Claim or (b) if no
agreement is reached, at the Reorganized Debtors’ sole and absolute option, (i) the net proceeds from
the liquidation of collateral after payment of all fees incurred and expenses reimbursed related to the
liquidation of such collateral, or (ii) surrender of collateral.

               (c)     Treatment: Liquidation Alternative. In full and final satisfaction of all
secured Class 7 claims against the Debtors, Vista Bank will receive surrender of the Collateral.

                (d)     Impairment and Voting. Class 7 is Impaired under the Plan. Class 7
includes only the Secured Claim of Vista Bank. Each Holder of a Class 7 Claim is entitled to vote to
accept or reject the Plan. All Causes of Action against Vista Bank are preserved under the Plan.


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          5.8.     Class 8 — Other Secured Claims (Restructuring or Liquidation Alternative)

                (a)    Claim and Lien Determination. The amount, validity, extent, value, and
priority of the Allowed Other Secured Class 8 Claim under § 506 of the Bankruptcy Code will be
determined by the Bankruptcy Court after the Effective Date or pursuant to an agreement between
the Reorganized Debtors and the Holder of a Class 8 Claim. Any Deficiency Claim or other
Unsecured Claim of the Holder of the Class 8 Claim shall be included as a Class 11 General Unsecured
Claim.

                  (b)     Treatment: Restructuring Alternative. Holders of Allowed Class 8 Claims,
if any, shall be designated as Class 8A, Class 8B et seq. and shall be satisfied at the Reorganized Debtors’
option by (i) payment of such Allowed Secured Claim in full in cash, including interest, if applicable,
as required under § 506(b) of the Bankruptcy Code; (ii) delivery of the Collateral securing such Allowed
Secured Claim; or (iii) issuance of a restructured note with a present value equal to the amount of the
value of their Collateral with interest payable from net profits of the Reorganized Debtors at a rate of
3% annually, and payable in full in ten (10) years.

                 (c)     Treatment: Liquidation Alternative. Holders of Allowed Class 8 Claims,
if any, shall be designated as Class 8A, Class 8B et seq. and will be paid by surrender of the Collateral.

                 (d)     Impairment and Voting. Class 8 is Impaired under the Plan. Class 8
includes only Secured Claims not otherwise classified under this Plan. Each Holder of a Class 8 Claim
is entitled to vote to accept or reject the Plan. All Causes of Action against any holder of a Class 8
Claim are preserved under this Plan.

          5.9.     Class 9 — Claims of Qualified Retail Lenders for Payment of TT&L/Trade
                   Liability (Restructuring Alternative Only)7

               (a)     Class 9 Eligibility. A Retail Lender who accepts the Plan and, on such
accepting Ballot, indicates its agreement to (i) execute a TT&L Agreement, (ii) provide the
Reorganized Debtors with proof of payment of a TT&L/Trade Liability, and (iii) provide future retail
lending on terms mutually acceptable to the Reorganized Debtors will be given a Class 9 Claim for
the amount payment pursuant to (a)(ii) above.

               (b)    Treatment. As full and final satisfaction, settlement, release, and discharge of
each Class 9 Claim, each Holder of a Class 9 Claim will receive is Pro Rata Share of the Qualified
Retail Lender Pool.

                (c)      Impairment and Voting. Class 9 is Impaired under the Plan. Class 9
includes only the Claims of Qualified Retail Lenders. Each Holder of a Class 9 Claim is entitled to
vote to accept or reject the Plan; however, any Retail Lender who does not qualify for a Class 9 Claim
but asserts a Claim against the Debtors will have that Claim treated as a Class 11 Claim. All Causes
of Action against any Retail Lender are preserved under the Plan.


7
 Class 9 is not an option under the Liquidation Alternative; all Claims that could qualify as Claims of Qualified Retail
Lenders under the Restructuring Alternative will be treated in Class 11 under the Liquidation Alternative.
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         5.10.    Class 10 — Unsecured Assumed Trade Claims (Restructuring Alternative
                  Only)8

                 (a) Class 10 Eligibility. The Plan Sponsor may, not less than ten (10) days before
  the Voting Deadline, identify certain Unsecured Claims held by Creditors whose future cooperation
  the Plan Sponsor deems critical to the success of the business operations of the Reorganized
  Debtors and designate each an Assumed Trade Claim. Claims denominated as Assumed Trade
  Claims by the Plan Sponsor will be treated in Class 10.

                 (b) Treatment. As full and final satisfaction, settlement, release, and discharge of
  such Class 10 Claim, each Holder of a Class 10 Claim will receive payment in full, over time, through
  the assumption of the indebtedness underlying the Allowed Class 10 Claim payable on terms to be
  agreed by each Holder of an Assumed Trade Claim and the Reorganized Debtors.

                 (c) Impairment and Voting. Class 10 is Impaired under the Plan. Class 10
  includes only Unsecured Assumed Trade Claims. The Holders of Class 10 Claims are entitled to
  vote to accept or reject the Plan. All Causes of Action against any holder of a Class 10 Claim are
  preserved under the Plan.

         5.11.    Class 11 — General Unsecured Claims (Restructuring or Liquidation
                  Alternative)

                   (a)     Treatment: Restructuring Alternative. AsExcept as set forth below with
 regard to the agreed treatment of IBC Bank, as full and final satisfaction, settlement, release, and
 discharge of each Class 11 Claim against the Debtors, each member of the Plan Sponsor, and the
 Reorganized Debtors, each Holder of a Class 11 Claim shall be satisfied by Pro Rata Share (calculated
 together with Allowed Claims in Class 12 and Class 13) of Distributions from Creditors Trust Assets,
 provided however, that after distributions to holders of Allowed Class 11 Unsecured Claims reach a total
 of $7.5 million, the Creditors’ Trust will surrender this 10% equity to the Reorganized Debtors. Class
 11 includes the Allowed Unsecured Claim of IBC Bank against the Debtors in the reduced, agreed
 Allowed amount of $20 million, provided however, that IBC Bank will waive all Distribution on its
 Allowed Class 11 Claim for the benefit of the holders of all other Allowed Class 11 Claims under the
 Restructuring Alternative in consideration of the release by the Estates of all Causes of Action against
 IBC Bank, its directors, officers and employees.

                 (b)    Treatment: Liquidation Alternative. As full and final satisfaction,
 settlement, release, and discharge of each Class 11 Claim against the Debtors, each Holder of a Class
 11 Claim shall be satisfied by Pro Rata Share (calculated together with Allowed Claims in Classes 12,
 13, 14 and 15) of Distributions from the Creditors Trust Assets, provided however, that IBC Bank will
 receive Distributions of its Pro Rata Share of only $7 million of its Allowed Class 11 Claim in
 consideration of the release by the Estates of all Causes of Action against IBC Bank, its directors,
 officers and employees.




8
  Class 10 is not an option under the Liquidation Alternative; all Claims that could qualify as Assumed Trade Claims will
be treated in Class 11 under the Liquidation Alternative.
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                 (c)    Impairment and Voting. Class 11 is Impaired under the Plan. Class 11
includes only General Unsecured Claims. The Holders of Class 11 Claims are entitled to vote to
accept or reject the Plan. All Causes of Action against any holder of a Class 11 Claim other than IBC
Bank are preserved under this Plan.

        5.12.    Class 12 — Unsecured Claims of Ford Credit (Restructuring or Liquidation
                 Alternative)

              (a)     Claim Determination: Restructuring Alternative. Ford Credit shall have
an Allowed Class 12 Claim of $7 million.

                 (b)    Claim Determination: Liquidation Alternative. Ford Credit’s Unsecured
Claim is a Disputed Claim. Under the Liquidation Alternative, all Causes of Action against Ford
Credit are reserved under the Plan. Until such Causes of Action are resolved on a final basis by
litigation or settlement by the Creditors Trustee, the Allowed amount of Ford Credit’s Unsecured
Claim, if any, is unknown.

                (c)     Treatment: Restructuring Alternative. As full and final satisfaction,
settlement, release, and discharge of such Class 12 Claims against the Debtors, each member of the
Plan Sponsor, and the Reorganized Debtors, Ford Credit’s Class 12 Claim will be paid from Excess
Cash Flow and only after payment of all Allowed Administrative Expenses by (i) a $1 million cash
payment in 2020, (ii) a $1 million cash payment in 2021, and (iii) issuance of the Ford Credit Note.
**FORD CREDIT ONLY GETS A RELEASE AND PAYMENT OF $2 MM CASH AND $5 MM NOTE IF (A) THE
RESTRUCTURING ALTERNATIVE IS APPROVED BY THE BANKRUPTCY COURT AND THE EFFECTIVE
DATE FOR SUCH ALTERNATIVE OCCURS, (B) FORD CREDIT VOTES IN FAVOR OF THE PLAN, AND (C)
FORD MOTOR AGREES TO THE ASSUMPTION OF THE DEALER AGREEMENTS OR THE ISSUANCE OF
NEW DEALER AGREEMENTS ON TERMS AT LEAST AS FAVORABLE AS THE TERMS IN THE CURRENT
DEALER AGREEMENTS.

                (d)    Treatment: Liquidation Alternative. Ford Credit’s Unsecured Claim is a
Disputed Claim. To the extent Allowed, Ford Credit’s Unsecured Claim will be treated in Class 12
and paid as follows: In full and final satisfaction and release of all Ford Credit’s Unsecured Claims
against the Debtors, Ford Credit will receive its Pro Rata Share (calculated together with Allowed
Claims in Classes 11, 13, 14, and 15) of Distributions from the Creditors Trust Assets.

                (e)     Impairment and Voting. Class 12 is Impaired under the Plan. Class 12
includes only the Unsecured Claim of Ford Credit. The Holders of Class 12 Claims are entitled to
vote to accept or reject the Plan. All Causes of Action against Ford Credit are preserved under the
Liquidation Alternative of the Plan or if Ford Credit does not satisfy the conditions precedent to the
payment of the Class 12 Claim under the Restructuring Alternative.

        5.13.    Class 13 — Unsecured Claims of GM Financial (Restructuring or Liquidation
                 Alternative)

                (a)      Treatment: Restructuring Alternative. As full and final satisfaction,
settlement, release, and discharge of such Class 13 Claims against the Debtors, each member of the
Plan Sponsor, and the Reorganized Debtors, GM Financial will receive (i) $750,000 from Excess Cash
Flow by the later of (x) 180 days after the Effective Date and (y) payment of all Allowed Administrative
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Expenses and (ii) another $750,000 from Excess Cash Flow no later than twelve (12) months after the
first payment of $750,000 to GM Financial.

***GM FINANCIAL ONLY GETS A RELEASE AND THE $1.5 MM PAYMENT IF (A) THE RESTRUCTURING
ALTERNATIVE IS APPROVED BY THE BANKRUPTCY COURT AND THE EFFECTIVE DATE FOR SUCH
ALTERNATIVE OCCURS, (B) GM FINANCIAL VOTES IN FAVOR OF THE PLAN, (C) GM FINANCIAL
PROVIDES FLOOR-PLAN FINANCING TO THE REORGANIZED DEBTORS ON TERMS AND
CONDITIONS REASONABLY ACCEPTABLE TO THE REORGANIZED DEBTORS; AND (D) GENERAL
MOTORS AGREES TO THE ASSUMPTION OF THE DEALER AGREEMENT OR THE ISSUANCE OF NEW
DEALER AGREEMENT ON TERMS AT LEAST AS FAVORABLE AS THE TERMS IN THE CURRENT
DEALER AGREEMENT.

               (b)     Treatment: Liquidation Alternative. GM Financial’s Unsecured Claim will
be a Disputed Claim, and, to the extent Allowed, GM Financial’s Class 13 Claim will receive its Pro
Rata Share (calculated together with Allowed Claims in Classes 11, 12, 14, and 15) of Distributions
from the Creditor Trust Assets. All Causes of Action against GM Financial are reserved under the
Liquidation Alternative in this Plan.

                (c)     Impairment and Voting. Class 13 is Impaired under the Plan. Class 13
includes only the Unsecured Claim of GM Financial. The Holders of Class 13 Claims are entitled to
vote to accept or reject the Plan. All Causes of Action against GM Financial are preserved under the
Liquidation Alternative of the Plan or if GM Financial does not satisfy the conditions precedent to
the payment of the Class 13 Claim under the Restructuring Alternative.

        5.14.    Class 14 — Unsecured Claims of IBC Bank (Restructuring or Liquidation
                 Alternative)

               (a)      Treatment: Restructuring Alternative. All prepetition claims of IBC Bank
against the Debtors, directly or indirectly, will be forgiven, and there will be no Distributions to Claims
in Class 14.

                (b)    Treatment: Liquidation Alternative. In full and final satisfaction and
release of all of IBC Bank’s Claims against the Debtors, IBC Bank will receive its Pro Rata Share
(calculated together with Allowed Claims in Classes 11, 12, 13, and 15) of Distributions from the
Creditor Trust Assets.

                (c)      Impairment and Voting. Class 14 is Impaired under the Plan. Class 14
includes only the Unsecured Claim of IBC Bank. The Holders of Class 14 Claims are entitled to vote
to accept or reject the Plan.

        5.14.    Class 14 — Intentionally Left Blank

        5.15.    Class 15 — Unsecured Claims of Bart Reagor and Rick Dykes (Restructuring
                 or Liquidation Alternative)

                 (a)     Treatment: Restructuring Alternative. The Holders of Class 15 Claims are
not entitled to receive any Distribution under the Plan.


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                (b)     Treatment: Liquidation Alternative. Allowed Claims in Class 15 will
receive their Pro Rata Share (calculated together with Allowed Claims in Classes 11, 12, 13, and 15) of
Distributions from the Creditor Trust Assets.

              (c)     Impairment and Voting. Class 15 includes only the Unsecured Claims of
Bart Reagor and Rick Dykes, and such Claims are Impaired under the Plan and entitled to vote.9

          5.16.    Class 16 — Intercompany Claims (Restructuring or Liquidation Alternative)

                 (a)     Treatment Restructuring or Liquidation Alternative. On the Effective
Date, all Intercompany Claims shall be cancelled and discharged. The Holders of Class 16 Claims are
not entitled to receive any Distribution under the Plan.

                (b)     Impairment and Voting. Class 16 consists of all Intercompany Claims.
Holders in Class 16 are not entitled to a Distribution under the Plan; therefore, they are deemed to
have rejected the Plan under § 1126(g) of the Bankruptcy Code.

          5.17.    Class 17 — Subordinated Unsecured Claims (Restructuring or Liquidation
                   Alternative)

               (a)     Treatment: Restructuring or Liquidation Alternative. The Holders of
Class 17 Claims are not entitled to receive any Distribution under the Plan.

                (b)     Impairment and Voting. Class 17 includes only Unsecured Claims that are
subordinated pursuant to contractual, legal, or equitable subordination, whether arising under general
principles of equitable subordination, § 510(b) of the Bankruptcy Code, or otherwise. Because Class
17 Claims are disallowed in full and will receive no Distribution under the Plan, Class 17 is deemed to
have rejected the Plan under § 1126(g) of the Bankruptcy Code.

          5.18.    Class 18 — Holders of Allowed Interests in the Debtors (Restructuring or
                   Liquidation Alternative)

                 (a)      Treatment Restructuring or Liquidation Alternative. On the Effective
Date, all Interests shall be cancelled and discharged.

                (b)     Impairment and Voting. Class 18 consists of all Interests. Holders in Class
18 are not entitled to a Distribution under the Plan; therefore, they are deemed to have rejected the
Plan under § 1126(g) of the Bankruptcy Code.

                                       ARTICLE VI
                           NON-VOTING AND UNIMPAIRED CLASSES




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   Because such Claims will receive no Distribution under the Plan, Class 15 will be deemed to have rejected the Plan
under § 1126(g) of the Bankruptcy Code if the Plan is Confirmed pursuant to the Restructuring Alternative.              Formatted: DocID



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        6.1.     Impaired/Unimpaired Classes

        Holders of Allowed Claims in Class 1 are Unimpaired; therefore, they are presumed to accept
the Plan. Holders of Claims in Classes 1A, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, and 15 are Impaired
under the Plan; therefore, they are entitled to vote to accept or reject the Plan. Holders of Allowed
Claims in Class 15 will receive no Distributions under the Plan on account of said Claims if the Plan
is Confirmed under the Restructuring Alternative, and Holders of Allowed Claims in Class 16 and 17
and Interests in Class 18 are Impaired and will receive no Distributions under the Plan on account of
said Claims or Interests; therefore, Classes 16, 17 and 18 are presumed to reject the Plan under §
1126(g) of the Bankruptcy Code. The Debtors need not solicit acceptances of the Plan from Holders
of Claims in Class 1. Except as otherwise provided in the Plan, nothing under the Plan shall affect
the Debtors’ rights regarding any Claim that is not Impaired, including all rights in respect of legal and
equitable defenses to or setoffs or recoupments against any such Claims.

        6.2.     Controversy Concerning Impairment

        If a controversy arises as to whether any Claim or Interest, or any class of Claims or Interests,
is impaired under the Plan, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy.

        6.3.     Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the
Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting and for
purposes of determining acceptance or rejection of the Plan by such Class pursuant to § 1129(a)(8) of
the Bankruptcy Code.

        6.4.     Subordinated Claims

       Except as expressly provided herein, the allowance, classification, and treatment of Allowed
Claims and Interests and the respective distributions and treatments under the Plan take into account
and conform to the relative priority and rights of the Claims and Interests in each Class in connection
with any contractual, legal, and equitable-subordination rights relating thereto, whether arising under
general principles of equitable subordination, § 510(b) of the Bankruptcy Code, or otherwise.
Pursuant to § 510 of the Bankruptcy Code, the Reorganized Debtors or the Creditor Trustee, as the
case may be, reserve the right to re-classify any Allowed Claim or Interest in accordance with any
contractual, legal, or equitable subordination relating thereto.

                            ARTICLE VII
        MEANS FOR IMPLEMENTATION OF THE PLAN: RESTRUCTURING
                           ALTERNATIVE

        7.1.     Continued Corporate Existence

        The Debtors shall each continue to exist after the Effective Date as Reorganized Debtors in
accordance with applicable laws of the jurisdiction in which each is incorporated or organized. On or
after the Effective Date, the Reorganized Debtors may, in each of their sole and absolute discretion,
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take such action as permitted by applicable law and each of the Reorganized Debtors’ organizational
documents as the Reorganized Debtors may determine is reasonable and appropriate.

        7.2.     Operations Between the Confirmation Date and the Effective Date

       During the period from the Confirmation Date through and until the Effective Date, the
Debtors shall continue to operate their business as debtors-in-possession, subject to the oversight of
the Bankruptcy Court as provided in the Bankruptcy Code, the Bankruptcy Rules, and all orders of
the Bankruptcy Court that are then in full force and effect.

        7.3.     Implementation Transactions on or Prior to the Effective Date by Reorganized
                 Debtors or Creditor Trust – As Applicable

                (a) New Equity Infusion. On the Effective Date, the Reorganized Debtors will
 execute the New Equity Infusion Documents and receive the up to $13 million in cash and financing
 from the Plan Sponsor to be used for working capital and to pay Allowed Claims pursuant to the
 terms and conditions of this Plan and the Post-Confirmation Business Plan.

                 (b) Issuance of New Equity. On the Effective Date, the Interests in the Debtors
 shall be cancelled and discharged, and the Reorganized Debtors are authorized to issue or cause to
 be issued the New Equity with 90% of the New Equity issued to the Plan Sponsor in exchange for
 the contribution of the New Equity Infusion, and 10% of the New Equity placed into the Creditors
 Trust, subject to the New Equity Redemption Right. The issuance of the New Equity and the
 Distribution thereof shall be exempt from registration under applicable securities laws pursuant to
 § 1145(a) of the Bankruptcy Code.

                 (c) Post-Confirmation Business Plan. The Debtors, with the support and input
 of the Plan Sponsor, have prepared three-year projections of the income and expenses of the
 Reorganized Debtors (inclusive of a variance of up to 15% in the aggregate) including payroll,
 professional fees, operational expenses, and payments due to Allowed Administrative Claims,
 Priority Tax Claims, and Priority Non-Tax Claims pursuant to this Plan. The Post-Confirmation
 Business Plan is attached to the Disclosure Statement as Exhibit B.

                  (d) Exit Financing, If Necessary. If the Reorganized Debtors need to find
 replacement floorplan financing, then the Reorganized Debtors are authorized to obtain Exit
 Financing and execute and deliver Exit Financing Documents to an Exit Lender on the Effective
 Date. This Exit Financing will be from an entity or financial institution in an amount sufficient to
 allow the Reorganized Debtors to execute the Ford Credit Secured Note and/or the GM Financial
 Secured Note. Without limiting the generality of the foregoing, it is anticipated that the obligations
 of the Reorganized Debtors under such Exit Financing Documents shall be secured by a first-
 priority lien in and on substantially all of the assets of the Dealerships or Locations to which such
 financing relates, subject only to certain customary permitted liens.

                (e) Restructuring-Alternative Transactions. On the Effective Date, the
 Reorganized Debtors shall execute the Creditors Trust Agreement and shall execute and deliver to
 the Plan Sponsor and, if necessary, to an Exit Lender, documents necessary to implement the Plan,
 including, without limitation, (i) the New Equity Infusion Documents and (ii) Exit Financing
 Documents, if necessary. Without limiting the generality of the foregoing, these documents shall         Formatted: DocID



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 provide that (i) the obligations of the Reorganized Debtors to the Plan Sponsor shall be secured by
 a first-priority lien in and on substantially all of the Reorganized Debtors’ assets, potentially subject
 to a superior lien of a floorplan lender in specified Collateral of the Dealerships or Locations to
 which such floorplan financing relates. The issuance of these documents shall be exempt from
 registration under applicable securities laws pursuant to § 1145(a) of the Bankruptcy Code. Further,
 on the Effective Date, or as soon as reasonably practicable thereafter, the Reorganized Debtors may
 also take all actions as may be necessary or appropriate to effect any transaction described in,
 approved by, contemplated by or necessary to effectuate the Plan, including (i) the execution and
 delivery of appropriate agreements or other documents of merger, consolidation, restructuring,
 conversion, disposition, transfer, dissolution, or liquidation containing terms that are consistent with
 the terms of the Plan and that satisfy the applicable requirements of applicable law and any other
 terms to which the applicable Entities may agree; (ii) the execution and delivery of appropriate
 instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability,
 debt, or obligation on terms consistent with the terms of the Plan and having other terms for which
 the applicable parties agree; (iii) the filing of appropriate certificates or articles of incorporation,
 reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable state law;
 and (iv) all other actions that the applicable Entities determine to be necessary or appropriate,
 including making filings or recordings that may be required by applicable law.

                  (f) Corporate Action. Upon the Effective Date, or as soon thereafter as is
 reasonably practicable, all actions contemplated by the Plan shall be deemed authorized and
 approved in all respects, including: (a) execution and entry into the New Equity Infusion Documents
 and, if necessary, Exit Financing Documents; (b) Distribution of the New Equity Interests; (c)
 selection of the directors and officers for the Reorganized Debtors; (d) implementation of the
 restructuring transactions contemplated by this Plan, as applicable; and (e) all other actions
 contemplated by the Plan (whether to occur before on or after the Effective Date). All matters
 provided for in the Plan involving the corporate structure of the Reorganized Debtors, and any
 corporate action required by one of the Debtors or the Reorganized Debtors in connection with the
 Plan shall be deemed to have occurred and shall be in effect, without any requirement of further
 action by the directors or officers of the Debtors or the Reorganized Debtors. On or before the
 Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors (as applicable)
 shall be authorized and directed to issue, execute, and deliver the agreements, documents, securities,
 and instruments contemplated by and consistent with the Plan (or necessary or desirable to effect
 the transactions contemplated by the Plan) in the name of and on behalf of the Reorganized
 Debtors, including the New Equity Infusion Documents and, if necessary, Exit Financing
 Documents, and any and all related and ancillary agreements, documents, and filings, New Equity
 Interests, or Creditor Trust, as applicable, and any and all other agreements, documents, securities,
 and instruments relating to the foregoing. The authorizations and approvals contemplated by this
 Article shall be effective notwithstanding any requirements under non-bankruptcy law. The issuance
 of the New Equity Interests shall be exempt from the requirements of section 16(b) of the Securities
 Exchange Act of 1934 (pursuant to Rule 16b-3 promulgated thereunder) with respect to any
 acquisition of such securities by an officer or director (or a director deputized for purposes thereof)
 as of the Effective Date.

                 (g) New Certificates of Incorporation and New By-Laws. On or around the
 Effective Date, the Reorganized Debtors will File each of their respective New Certificates of
 Incorporation with the applicable Secretary of State and/or other applicable authorities in its state.
 Pursuant to § 1123(a)(6) of the Bankruptcy Code, the New Certificates of Incorporation will prohibit        Formatted: DocID



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 the issuance of non-voting equity securities. After the Effective Date, the Reorganized Debtors may
 amend and restate its New Certificate of Incorporation and New By-Laws and other constituent
 documents as permitted by the laws of its state.

                (h) Cancellation of Prepetition Interests. Except as expressly provided herein,
 on the Effective Date, all notes, instruments, certificates evidencing Interests in the Debtors shall
 be deemed surrendered and cancelled and the Debtors’ obligations thereunder shall be discharged.

                   (i) Release of Liens. Upon full payment or other satisfaction of Secured Claims
 pursuant to this Plan, the Holders of such Secured Claims shall deliver to the Debtors or the
 Reorganized Debtors, or Creditor Trustee, as applicable, any Collateral or other property of the
 Debtors held by such Holder, together with any termination statements, instruments of satisfaction,
 or releases of all Security Interests with respect to Allowed Secured Claims that may be reasonably
 required to terminate any related financing statements, mortgages, mechanics’ or other statutory
 liens, or lis pendens, or similar interests or documents. The Reorganized Debtors are authorized to
 file any such UCC-3 termination statement(s) as may be necessary to fulfill the terms of this Section.

                  (j) Directors and Officers of the Reorganized Debtors. As of the Effective
 Date, a new initial board of directors of the Reorganized Debtor shall be appointed by the
 Reorganized Debtors. Pursuant to § 1129(a)(5) of the Bankruptcy Code, the initial board of
 directors for the Reorganized Debtors will be as identified in the Plan Supplement Documents. To
 the extent any such director or officer is an “insider” as such term is defined in § 101(31) of the
 Bankruptcy Code, the nature of any compensation to be paid to such director or officer will also be
 disclosed in the Plan Supplement Documents. Each such director and officer shall serve from and
 after the Effective Date pursuant to the terms of the organizational and other constituent documents
 of the Reorganized Debtors.

                (k) Effectuating Documents; Further Transactions.                   Entry of the
 Confirmation Order shall constitute authorization for the Reorganized Debtors and the Debtors,
 pursuant to § 1123(a)(5)(D), and the officers and members of the new board of directors to issue,
 execute, deliver, File, or record such contracts, securities, instruments, releases, and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate,
 implement, and further evidence the terms and conditions of the Plan and the securities issued
 pursuant to the Plan, in the name of and on behalf of the Reorganized Debtors, without the need
 for any approvals, authorization or consents except those expressly required pursuant to the Plan.

                   (l) Exemption from Certain Taxes and Fees. Pursuant to § 1146(a) of the
 Bankruptcy Code, any transfers of property pursuant hereto shall not be subject to any stamp tax or
 other similar tax or governmental assessment in the United States, and the Confirmation Order shall
 direct and be deemed to direct the appropriate state or local governmental officials or agents to
 forgo the collection of any such tax or governmental assessment and to accept for filing and
 recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such tax or governmental assessment. Such exemption specifically applies, without
 limitation, to (i) the creation of any mortgage, deed-of-trust, lien, or other Security Interest, (ii) the
 making or assignment of any lease or sublease, (iii) any restructuring transaction authorized by the
 Plan, or (iv) the making or delivery of any deed or other instrument of transfer under, in furtherance
 of or in connection with the Plan, including: (a) any merger agreements; (b) agreements of
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  consolidation, restructuring, disposition, liquidation, or dissolution; (c) deeds; (d) bills of sale; or (e)
  assignments executed in connection with any restructuring transaction occurring under the Plan.

        7.4.     Vesting of Assets

         On the Effective Date, except as otherwise expressly provided herein, title to all Assets shall
remain/vest (a) in the Reorganized Debtors, as applicable, free and clear of all liens, Claims, Causes
of Action, interests, rights, Security Interests, and other encumbrances under the Restructuring
Alternative and without further order of the Bankruptcy Court or (b) in the Creditors Trust, free and
clear of all liens, Claims, Causes of Action, interests, rights, Security Interests, and other encumbrances
under the Liquidation Alternative. On and after the Effective Date, except as otherwise provided
herein, the Debtors and the Reorganized Debtors may operate their business and may use, acquire,
and dispose of their Assets free of any restrictions of the Bankruptcy Code.

        7.5.     Sources of Cash for Plan Distributions

        All Cash necessary for the Debtors, Reorganized Debtors, or the Creditors Trustee, as the
case may be, to make Distributions to Holders of Allowed Claims shall be obtained from the proceeds
of the Plan Sponsor DIP Facility (if any), the New Equity Infusion, and/or Exit Financing.

        7.6.     Approval of Agreements

        The solicitation of votes on the Plan shall be deemed a solicitation for the approval of the Plan
Supplement Documents, Plan Documents and all transactions contemplated by the Plan. Entry of the
Confirmation Order shall constitute approval of the Plan Supplement Documents and such
transactions and authorization for the Reorganized Debtors and the Debtors, as appropriate, to
execute and deliver each of the Plan Documents.

        7.7.     Entry of Final Decree

        As soon as is practicable after the Effective Date, the Reorganized Debtors shall File an
application with the Clerk of the Court requesting the entry of a Final Decree closing the Case. The
Reorganized Debtors shall be responsible for all U.S. Trustee fees owed pursuant to 28 U.S.C. § 1930
until entry of the final decree and closing of the bankruptcy case. Neither the Reorganized Debtors
nor the Creditors Trust shall be responsible for any U.S. Trustee fees after the bankruptcy case is
closed.

        7.8.     Retention of Rights to Pursue Causes of Action

        Pursuant to § 1123(b) of the Bankruptcy Code, all Causes of Action (including Chapter 5
Causes of Action) are hereby preserved by this Plan, notwithstanding the occurrence of the Effective
Date. The Reorganized Debtors (under the Restructuring Alternative) or the Creditor Trustee (under
the Liquidation Alternative) shall, on behalf of the Debtors, retain the exclusive authority and all rights
to enforce, commence, and pursue, as appropriate, any and all Causes of Action, whether arising
before or after the Petition Date, including any actions specifically enumerated in the Plan Supplement
Document, and the Reorganized Debtors’ or the Creditor Trustee’s, as the case may be, rights to
commence, prosecute, or settle such Causes of Action shall be preserved. For the avoidance of doubt,
the preservation of Causes of Action herein includes, without limitation, the right to object to all
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Claims, including Secured Claims, Administrative Claims, Priority Claims, and General Unsecured
Claims.

         The Debtors have not fully investigated any potential Causes of Action against any Persons or
Entities at this time. The failure to list or describe any unknown Cause of Action herein is not intended
to limit the rights of the Reorganized Debtors or the Creditor Trustee, as the case may be to pursue
any known or unknown Cause of Action. Unless Causes of Action against a Person or Entity are
expressly waived, relinquished, released, compromised or settled herein or any Final Order, the
Debtors or the Estates (before the Effective Date) and the Debtors and the Reorganized Debtors (as
applicable), hereby expressly reserve all Causes of Action (including the unknown Causes of Action)
for later adjudication and therefore, no preclusion doctrine or other rule of law, including, without
limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable or otherwise) or laches, shall apply to such Causes of Action after, or as a result of
the confirmation or Effective Date of the Plan, or the Confirmation Order. In addition, the Debtors
and the Estates, and the Reorganized Debtors, expressly reserve the right to pursue or adopt any
Claims not so waived, relinquished, released, compromised, or settled that are alleged in any lawsuit
in which one of the Debtors or Estates is a defendant or an interested party, against any Person or
Entity, including, without limitation, the plaintiffs and co-defendants in such lawsuits. No Entity may
rely on the absence of a specific reference in the Plan, the Plan Supplement Documents, or the
Disclosure Statement to any Cause of Action against them as any indication that the Debtors or the
Reorganized Debtors (under the Restructuring Alternative) or the Creditor Trustee (under the
Liquidation Alternative) will not pursue any and all available Causes of Action against them. The
Debtors and the Reorganized Debtors, on behalf of themselves or the Creditors Trustee, as the case
may be, expressly reserve all rights to prosecute any and all Causes of Action other than Causes of
Action settled, resolved or released pursuant to this Plan.

         For the avoidance of doubt, the Reorganized Debtors reserve and shall retain all Causes of
Action notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease
during the Chapter 11 Cases or pursuant to the Plan. The Reorganized Debtors shall retain and may
exclusively enforce any and all such Causes of Action. The Reorganized Debtors (under the
Restructuring Alternative) or the Creditor Trustee (under the Liquidation Alternative) shall have the
exclusive right, authority, and discretion to determine and to initiate, File, prosecute, enforce, abandon,
settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline
to do any of the foregoing without the consent or approval of any third party or further notice to or
action, order, or approval of the Bankruptcy Court.

        Such retained potential causes of action include, without limitation, (i) any potential Cause of
Action arising from or related to any transfer or other actions or omissions referenced in each of the
Debtors’ Schedules or Statement of Financial Affairs, as same may be amended (ii) any potential
Causes of Action against any past or present insider of the Debtors, (iii) any causes of action related
to the extent, validity, and priority of any liens, (iv) any actions for breach of contract, and (v) any
actions arising in tort. The Reorganized Debtors or the Creditor Trustee, as the case may be, will
review payments made by and transactions involving the Debtors prior to the Petition Date to
determine whether preference and other actions to avoid such payments and transactions should be
brought. Failure to specifically identify potential actions herein shall not be deemed a waiver of any
such action by the Debtors or any other party. The Debtors shall have the right to identify any
additional Causes of Action prior to the Effective Date of the Plan.
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                                ARTICLE VIII
               RESTRUCTURING ALTERNATIVE: THE CREDITORS TRUST

        8.1.     Creation of the Creditors Trust and Appointment of the Trustee

        (a)   On the Effective Date, the Creditors Trust will be created pursuant to the Creditors
  Trust Agreement.

         (b)     The Creditors Trust shall be administered by the Creditors Trustee who shall be
  selected by the Debtors and the Plan Sponsor and identified no later than ten (10) days prior to the
  Voting Deadline and notice of same shall be filed and served via ECF. The appointment of the
  initial Creditors Trustee and the terms of his/her compensation shall be subject to the approval of
  the Bankruptcy Court at the Confirmation Hearing.

        (c)    On the Effective Date, all of the Creditor Trust Assets shall transfer to and vest in the
  Creditors Trust free and clear of all Claims, Liens, interests, rights, and encumbrances without the
  need for any action by the Debtors or the Bankruptcy Court.

        (d)    Compensation owed to the Creditors Trustee and the Creditors Trustee’s counsel shall
  be paid from the Creditor Trust Assets, not from the Reorganized Debtors.

        8.2.     Property of the Creditors Trust

          On the Effective Date, notwithstanding any prohibition of assignability under applicable law,
the Reorganized Debtors shall be deemed to have automatically transferred to the Creditors Trust all
of its right, title, and interest in and to the Creditors Trust Assets, and the right to object to any Claims,
unless otherwise agreed. The Reorganized Debtors shall reasonably cooperate with the Creditors
Trustee to provide access to the Reorganized Debtors’ books and records, necessary accounting
information and documentation to enable the Creditors Trustee to efficiently and timely perform the
functions of this Plan.

        8.3.     Purpose of the Creditors Trust

         On the Effective Date, the Creditors Trust will be established and become effective for the
benefit of the Creditors Trust Beneficiaries and for the primary purpose of liquidating its assets in
accordance with Treas. Reg. § 301.7701-4(d) with no objective to continue or engage in the conduct
of a trade or business, except to the extent reasonably necessary to, and consistent with, the liquidating
purpose of the Creditors Trust. The Debtors, all Claimants, and all Holders of Interests shall be
deemed to have adopted and approved the Creditors Trust Agreement. The purpose of the Creditors
Trust is to (a) liquidate all Creditors Trust Assets and (b) distribute the proceeds of the Creditors Trust
Assets to the Creditors Trust Beneficiaries. The Creditors Trust shall not be deemed a successor-in-
interest of the Debtors or Reorganized Debtors for any purpose other than as specifically set forth
herein or in the Creditors Trust Agreement. The Creditors Trust is intended to qualifyshall be treated
as a “grantor trust” subject to the provisions of Section 671 of the Internal Revenue Code and as a
liquidating trust under Treasury Regulation Section 301.7701-4(d) for United States federal income
tax purposes, with the Holders of the Creditors and, to the extent permitted under applicable law, for
state and local income tax purposes. The Trust InterestsBeneficiaries will be treated as the grantors
and deemed owners of the Creditors Trust. As soon as practicable after the Effective Date, the
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Creditors Trustee (to the extent that the Creditors Trustee deems it necessary or appropriate in his or
her sole discretion) shall value the assets of the Creditors Trust based on the good faith
determinationtheir allocable portion of the Creditors Trustee. The valuation shall be used consistently
by all parties for allTrust Assets for federal income tax purposes. Any valuation of the Trust Assets
by the Trust Beneficiaries shall be consistent with the valuation of Trust Assets used by the Trust.The
Bankruptcy Court shall resolve any dispute regarding such valuation.

        8.4.     Powers of the Creditors Trustee

        The Creditors Trustee shall have the power to administer the assets of the Creditors Trust in
a manner consistent with the Creditors Trust Agreement. Without limiting the generality of the
foregoing, the Creditors Trustee shall (a) hold, administer, and prosecute the assets of the Creditors
Trust and any proceeds thereof; (b) have the power and authority to retain, as an expense of the
Creditors Trust, attorneys, advisors, other professionals and employees as may be appropriate to
perform the duties required of the Creditors Trustee hereunder or in the Creditors Trust Agreement;
(c) make distributions to Holders of Allowed Class 11, 12 and 13 Claimsthe Trust Beneficiaries; and
(d) provide periodic reports and updates to the Reorganized Debtors regarding the status of the
administration of the Creditors Trust. The Creditors Trustee shall step into the shoes of the
Reorganized Debtors under the Plan when making Distributions to Creditors Trust Beneficiaries
pursuant to the Creditors Trust Agreement. The Bankruptcy Court shall retain jurisdiction to the
extent permissible under applicable law, to resolve any disputes regarding the Creditors Trust, hear
objections to Claims, and otherwise address such additional matters brought by the Creditors Trustee
in the fulfillment of his/her duties pursuant to the Plan and the Creditors Trust Agreement.

        8.5.     Cooperation Between the Creditors Trustee and Reorganized Debtors

        The Creditors Trustee and the Reorganized Debtors shall consult and cooperate reasonably
  in the performance of their duties under the Plan.

        8.6.     Termination of the Creditor Trust

        The Creditors Trust shall continue to exist until the Creditors Trustee has administered all
Creditors Trust Assets and made a final Distribution to Holders of Allowed Claims in accordance
with the terms of the Plan and performed all other duties required by the Plan and the Creditor Trust
Agreement. Multiple extensions of the termination of the Creditors Trust may be obtained so long as
Bankruptcy Court approval is obtained prior to the expiration of each extended term. As soon as
reasonably practicable after the Final Distribution, the Creditors Trustee shall dissolve the Creditors
Trust pursuant to the Creditors Trust Agreement. Upon dissolution, the Creditors Trustee’s duties
under the Creditors Trust Agreement and the Plan shall terminate.

                                       ARTICLE IX
                                LIQUIDATION ALTERNATIVE

        9.1.     Notice of Implementation of the Liquidation Alternative

        If the Plan does not go effective under the Restructuring Alternative, (a) the Debtors shall file
a notice with the Bankruptcy Court (the “Liquidation Notice”), stating that the Plan is effective
under the Liquidation Alternative.
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                                    ARTICLE X
                     CONDITIONS PRECEDENT TO EFFECTIVE DATE;
                          EFFECT OF PLAN CONFIRMATION

       10.1.    Conditions to Confirmation

       The following are conditions precedent to confirmation of the Plan:

       (a)      The Clerk of the Bankruptcy Court shall have made findings and/or entered an order
 or orders (i) approving the Disclosure Statement as containing “adequate information” pursuant to
 § 1125 of the Bankruptcy Code, (ii) authorizing solicitation of votes with respect to the Plan, (iii)
 determining that all votes are binding and have been properly tabulated as acceptances or rejections
 of the Plan, (iv) confirming and giving effect to the terms and provisions of the Plan, (v) determining
 that all applicable tests, standards, and burdens in connection with the Plan have been duly satisfied
 and met by the Debtors and the Plan, and (vi) authorizing the Debtors to execute, enter into, and
 deliver the Plan Documents and to execute, implement, and to take all actions otherwise necessary
 or appropriate to give effect to the transactions and transfer of assets contemplated by the Plan and
 the Plan Documents;

        (b)     The Confirmation Order, the Plan Documents, and the Plan are each in a form
 satisfactory to the Debtors and the Plan Sponsor (if applicable); and

      (c)   The Confirmation Order shall include a determination that all of the settlements and
 compromises contained herein meet the applicable standards under § 1123(b)(3) of the Bankruptcy
 Code and Bankruptcy Rule 9019 for approval and implementation.

       10.2.    Conditions Precedent to the Effective Date: Restructuring Alternative

       The following are conditions precedent to the occurrence of the Effective Date:

       (a)     The New Equity Infusion Documents have been executed and all conditions to the
 effectiveness thereof shall have been satisfied or waived;

      (b)    All additional documents effectuating the Plan and the transactions thereunder have
 been executed and delivered by the parties thereto, and all conditions to the effectiveness of such
 documents have been satisfied or waived as provided therein;

       (c)     Approval by the Bankruptcy Court or the State of Texas, as applicable, of (i) the
 assumption or assumption and assignment or other transfer (if necessary) to the Plan Sponsor of
 the franchise or dealer agreements between (a) one or more of the Debtors and (b) Ford Motor
 Company, General Motors, Mitsubishi, andor Toyota, or (ii) other acceptance or approval of the
 Plan Sponsor (or members/equity owners of the Plan Sponsor) as the holder of the equity in the
 Reorganized Debtor;

       (d)      Payment of the New Equity Infusion by the Plan Sponsor to the Reorganized Debtors;

       (e)     All real estate on which the Reorganized Debtors will operate the Dealerships is owned
 or leased by the Reorganized Debtors.
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      (f)     The Confirmation Order has become a Final Order, and it authorizes and directs the
 Debtors and the Reorganized Debtors to take all actions necessary or appropriate to implement and
 consummate the provisions of, and transactions described or contemplated in, the Plan;

        (g)      The Creditors Trust has been created;

        (h)      The New Equity has been issued; and

       (i)    Unless extended by the United States Trustee or the Court, the Restructuring
 Alternative under this Plan must go effective on or before seventy-five (75) days after the
 Confirmation Date.

        10.3.    Conditions Precedent to the Effective Date: Liquidation Alternative

        The following are conditions precedent to the occurrence of the Effective Date:

      (a)    The Confirmation Order has become a Final Order, and it authorizes and directs the
 Debtors and the Creditor Trustee to take all actions necessary or appropriate to implement and
 consummate the provisions of, and transactions described or contemplated in, the Plan;

        (b)      The Creditors Trust has been created.

        10.4.    Waiver of Conditions

         The Debtors may waive any one or more of the conditions set forth in Sections 10.1, 10.2(a)-
(h) or 10.3 in a writing executed by the Debtors without notice or order of the Bankruptcy Court and
without notice to any parties in interest other than the Plan Sponsor. The condition precedent in
10.2(i) cannot be waived or modified without approval by the United States Trustee or the Court.

        10.5.    Effect of Non-Occurrence of the Effective Date

        If the Effective Date shall not occur, the Plan shall be null and void, and nothing contained
herein shall: (a) constitute a waiver or release of any Claims against or Interests in the Debtors, (b)
prejudice in any manner the Debtors’ rights, including, without limitation, any right to seek a further
extension of the exclusivity periods under § 1121(d) of the Bankruptcy Code; or (c) constitute an
admission, acknowledgement, offer, or undertaking by the Debtors.

                                    ARTICLE XI
                              CLAIM OBJECTIONS, AND
                      MISCELLANEOUS DISTRIBUTION PROVISIONS

        11.1.    Objections to Claims

      (a)     All objections to Claims must be Filed on or before the Claims Objection Deadline,
which is two hundred seventy (270) days after the Effective Date, unless extended by the Bankruptcy
Court for cause shown. Any Disputed Claim to which an objection is not Filed on or before the
Claims Objection Deadline will be deemed to constitute an Allowed Claim following the Claims
Objection Deadline. The Creditors Trustee may, on or before the Claims Objection Deadline, File
a motion with the Bankruptcy Court requesting an extension of the Claim Objection Deadline. Any           Formatted: DocID



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such motion Filed by the Claims Objection Deadline shall, if granted, toll the Claims Objection
Deadline solely with respect to the Claim that is the subject of the motion, until and including the
date that is ten (10) business days following the date of entry of the Order granting the motion.

       (b)      Until a Contingent Claim becomes an Allowed Claim or is Disallowed, the Claim will
be treated as a Disputed Claim. The Holder of a Contingent Claim will be entitled to a Distribution
under the Plan only when the Contingent Claim becomes an Allowed Claim. Any Contingent Claim
for reimbursement or contribution held by a Person that may be liable with the Debtors on a Claim
of a Claimant is Disallowed as of the Effective Date if: (a) that Claimant’s Claim is Disallowed; (b)
the Claim for reimbursement or contribution is contingent as of the Effective Date; or (c) that Person
asserts a right of subrogation to the rights of the Claimant under § 509 of the Bankruptcy Code.

        (c)    To facilitate the timely and effective administration of Claims, except as otherwise
expressly stated herein, following the later of the Effective Date and the applicable Bar Date, no
original or amended proof of Claim may be Filed in any of the Chapter 11 Cases to assert a Claim
against one of the Debtors or the Estates without prior authorization of the Bankruptcy Court, and
any such proof of Claim which is Filed without such authorization shall be deemed null, void and of
no force or effect; provided, however, that the Holder of a Claim that has been evidenced in the Chapter
11 Cases by the filing of a proof of Claim on or before the Bar Date shall be permitted to File an
amended proof of Claim in relation to such Claim at any time if the sole purpose of the amendment
is to reduce the amount of the Claim asserted.

        11.2.    Estimation of Claims

         As applicable, the Creditors Trustee may at any time request that the Bankruptcy Court
estimate any contingent, unliquidated, or Disputed Claim pursuant to § 502(c) of the Bankruptcy
Code, regardless of whether the Debtors had previously objected to or otherwise disputed such Claim
or whether the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court shall retain
jurisdiction to estimate any Claim at any time during litigation concerning any objection to any Claim,
including during the pendency of any appeal relating to any such objection. If the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute
either (a) the Allowed amount of such Claim or (b) a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on
the amount of such Claim, the Creditors Trustee may pursue supplementary proceedings to object to
the allowance of such Claim.

        11.3.    Distributions Under the Plan

        (a)      Allowed Claims

        Distributions by either of the Trusts established hereunder will only be made to Holders of
Allowed Claims in accordance with the terms of this Plan, the Plan Documents, and the Plan
Supplement Documents. No payment or Distribution provided under this Plan shall be made on
account of a Claim unless and until (and only to the extent that) such Claim becomes an Allowed
Claim. Distribution will be made by the Creditors Trustee to Holders of Allowed Claims in all Classes
entitled to Distribution pursuant to the Plan.


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        Any Holder of an Allowed Claim may receive, instead of the Distribution or treatment to
which it is entitled under this Plan, any other Distribution or treatment that it and the Reorganized
Debtors, Creditors Trustee, as the case may be, may agree to in writing, so long as such alternative
treatment is (a) substantially the same or less favorable to the Claimant than the treatment otherwise
prescribed herein and (b) does not violate any term of this Plan, the Plan Documents, or the Plan
Supplement Documents.

        (b)      No Post-Petition Interest on Claims

         Except as otherwise specifically provided in the Plan or Confirmation Order, post-petition
interest shall not accrue or be paid on any Claim, and no Holder of a Claim shall be entitled to interest
accruing on such Claim on or after the Petition Date.

        (c)      Due Authorization by Claimants

        Every Claimant who elects to participate in the Distributions provided in this Plan warrants
that the Claimant is authorized to accept in consideration of its Claim against the Debtors the
Distributions provided for in this Plan and that there are no outstanding commitments, agreements,
or understandings, express or implied, that may or can in any way defeat or modify the rights conveyed
or obligations undertaken by the Claimant under the Plan.

        (d)      De Minimis Distributions and Rounding

         Ratable Distributions to holders of Allowed Claims will not be made if such Distribution will
result in a Distribution amount of less than $150.00, unless a request therefore is made in writing to
the Trustee.

        (e)      Distribution Record Date

        As of the close of business on the Effective Date, the various lists of Holders of Claims in
each Class, as maintained by the Debtors or their respective agent(s), shall be deemed closed, and
there shall be no further changes in the record Holders of any Claims after the Effective Date. Neither
the Debtors, the Reorganized Debtors, nor the Creditors Trustee has any obligation to recognize any
transfer of a Claim occurring after the close of business on the Effective Date.

        (f)      Delivery of Distributions and Other Notices

        As applicable, the Reorganized Debtors or the Creditors Trustee will issue or cause to be
issued, the applicable consideration under this Plan and, subject to Bankruptcy Rule 9010, will make
Distributions to any Holder of an Allowed Claim as and when required by this Plan at (i) the address
of such Holder on the books and records of the Debtors; (ii) the address set forth in any timely-filed
proof of Claim; or (iii) the address listed in any “address-change” notice delivered to the Reorganized
Debtors and the applicable Trustee, including any addresses included on any transfers of Claim Filed
pursuant to Bankruptcy Rule 3001 prior to the Effective Date. If any Distribution to any Holder is
returned as undeliverable, no Distribution or payment to such Holder shall be made unless and until
the Reorganized Debtors or the applicable Trustee, as the case may be, has been notified of the then-
current address of such Holder. The Creditors Trustee may require any Trust Beneficiary or other
party receiving a Distribution to furnish to said Trustee in writing his/her/its employer or taxpayer-
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identification number, as assigned by the IRS. Such Trustee may condition any Distribution to any
Trust Beneficiary or other party receiving a Distribution on the receipt of such identification number.
Notwithstanding the foregoing, neither the Creditors Trustee nor the Reorganized Debtors is under
any duty to take any action to either attempt to locate any holder of a Claim, or obtain an executed
Internal Revenue Service Form W-9 from any holder of a Claim. Neither Trustee has any
responsibility to ensure that it has the correct mailing address and taxpayer or employer-identification
number for a Creditor.

        (g)      Distributions to be Pro Rata Within a Class

        Except as otherwise provided herein, all Distributions constituting a partial payment to holders
of Allowed Claims within a specific Class shall be made on a Pro Rata basis to the holders of Allowed
Claims in such Class.

        (h)      Distributions on Account of Disputed Claims

        No Distributions will be made on a Disputed Claim unless and until such Disputed Claim
becomes an Allowed Claim. In determining the amount of Distributions to be made under the Plan
to Holders of Allowed Claims on the Effective Date or a Distribution date, the appropriate
Distributions shall be made as if all the Disputed Claims as of such Distribution date were Allowed
Claims in the full amount claimed by the Holders thereof, unless otherwise ordered or estimated by
the Bankruptcy Court.

        (i)      Disputed Claim Reserves

                 (i)    Disputed Claim Reserve Account

        In addition to as provided otherwise in the Plan, the Creditors Trustee shall reserve for the
account of each Holder of a Disputed Claim entitled to receive a Distribution in the Disputed Claim
Reserve Account (x) Trust Assets that would otherwise be distributable to such Holder on such date
in accordance with the Plan were such Disputed Claim an Allowed Claim on such date or (y) such
other property as may be agreed between said Trustee, the Holder of the Disputed Claim, and the
Reorganized Debtors.

        Property reserved under this Section shall be set aside and, to the extent practicable, held by
the applicable Trustee in an interest-bearing account to be maintained by said Trustee pending
resolution of such Disputed Claims; provided, however, that Cash shall be invested in a manner
consistent with the requirements of § 345 or as otherwise ordered by the Bankruptcy Court. All interest
accruing on funds held in the Disputed Claim Reserve Account shall revert to the applicable Trust.

        If a Disputed Claim becomes an Allowed Claim, property of the applicable Trust reserved for
the Holder thereof shall be distributed by the Trustee to such Holder as soon as practicable after such
Claim becomes an Allowed Claim pursuant to, and to the extent provided for in, the Plan. To the
extent an objection to a Disputed Claim is upheld or a Claim is withdrawn or reduced, the reserves
held on account of such Disputed or withdrawn Claim shall be reallocated to the Allowed Claimants
in the applicable Class pursuant to their respective Pro Rata Share.


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                 (ii)   Disputed Administrative Claim Reserve Account

        As to Priority Claims, Administrative Claims, and Other Secured Claims, the Reorganized
Debtors shall reserve in the Disputed Administrative Claim Reserve Account on account of the
Holder of a Disputed Claim (a) Assets of the Reorganized Debtors or the Creditors Trust, as the case
may be, that would otherwise be distributable to such Holder on such date in accordance with the
Plan were such Disputed Claim an Allowed Claim on such date or (b) such other property as may be
agreed between the Reorganized Debtors or the Creditors Trustee, as the case may be, and the Holder
of the Disputed Claim.

         Property reserved under this Section shall be set aside and, to the extent practicable, held by
the Reorganized Debtors or the Creditors Trustee, as the case may be, in an interest-bearing account
to be maintained by the Reorganized Debtors or the Creditors Trustee, as the case may be, pending
resolution of such Disputed Claims; provided, however, that Cash shall be invested in a manner
consistent with the requirements of § 345 or as otherwise ordered by the Bankruptcy Court. All
interest accruing on funds held in the Disputed Administrative Claims Reserve Account shall revert
to the Reorganized Debtors or the Creditors Trust, as the case may be.

         If a Disputed Claim becomes an Allowed Claim, property of the Reorganized Debtors or the
Creditors Trust, as the case may be, that was reserved for the Holder thereof shall be distributed by
the Reorganized Debtors or Creditors Trustee to such Holder as soon as practicable after such Claim
becomes an Allowed Claim pursuant to (i) and to the extent provided for in the Plan; (ii) an agreement
between the Holder of the Disputed Claim and the Reorganized Debtors or Creditors Trustee; or (iii)
to a final and non-appealable order of the Bankruptcy Court. To the extent an objection to a Disputed
Claim is upheld or a Claim is withdrawn or reduced, the reserves held on account of such Disputed
or withdrawn Claim shall be reallocated to the Reorganized Debtors or the Creditors Trust, as the
case may be.

        (j)      Undeliverable or Unclaimed Distributions

         Any Entity that is entitled to receive a Cash Distribution under the Plan but that fails to cash
a check within 90 days of its issuance shall be entitled to receive a reissued check from the Creditors
for the amount of the original check, without any interest, if such Entity requests the Creditors Trust
to reissue such check and provides such documentation as may be requested to verify that such Entity
is entitled to such check prior to the later of (a) the first anniversary of the Effective Date and (b) 180
days after such Entity’s Claim becomes an Allowed Claim.within 180 days of the date of issuance. If
an Entity fails to cash a check within 90 days of its issuance and fails to request reissuance of such
check within 180 days of its issuance pursuant to the terms of this Plan, such Entity shall not be
entitled to receive any distribution under the Plan with respect to the amount of such check. If the
distribution to any holder of an Allowed Claim is returned to the Creditors as undeliverable, no further
Distributions will be made to such holder unless and until the Creditors Trust is notified in writing
within 90 days of such Holder’s current address; provided, however, that the Creditors Trust shall
make reasonable efforts for a period of 90 days to contact the Holder of such Allowed Claim, identify
the correct mailing address and resend the Distribution. All unclaimed property shall revert to the
Creditors Trust for further disbursement in accordance with this Plan, and the Claim of any Holder
or successor to such Holder with respect to such Claim shall be discharged and forever barred
notwithstanding any federal or state escheatment laws to the contrary. In no event shall any funds
escheat to the State of Texas.
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        11.4.    Setoffs

         Except as otherwise expressly provided herein, pursuant to §§ 502(d) or 553 of the Bankruptcy
Code or any applicable non-bankruptcy law, agreements entered into in connection with the Plan, the
Confirmation Order, or in agreements previously approved by Final Order of the Bankruptcy Court,
the Debtors, the applicable Trustee, and the Reorganized Debtors may, but will not be required to,
setoff against any Claim and the Distributions made with respect to the Claim, before any Distribution
is made on account of such Claim, any and all of the claims, rights and Causes of Action of any nature
that any of the Debtors may hold against the Holder of such Claim; provided, however, that neither
the failure to effect such a setoff, the allowance of any Claim hereunder, any other action or omission
of the Debtors, nor any provision of the Plan shall constitute a waiver or release by the Debtors or
the Creditors Trustee of any such claims, rights and Causes of Action that the Debtors may possess
against such Holder. If the Debtors fail to setoff against a Holder of a Claim and seek to collect a
claim from the Holder of such Claim after a Distribution to the Holder of such Claim pursuant to the
Plan, the Reorganized Debtors or Creditors Trustee shall be entitled to full recovery on its claim, if
any, against the Holder of such Claim or Interest. In event shall any Party be entitled to setoff any
Claim or Interest against any Claim of the Debtors without the consent of the Debtors, Reorganized
Debtors and/or the Creditors Trustee unless such Party files a motion with the Bankruptcy Court
requesting the authority to perform such setoff notwithstanding any indication in any proof of Claim
or otherwise that such Party asserts, has, or intends to preserve any right of setoff pursuant to section
553 of the Bankruptcy Code or otherwise.

        11.5.    Recoupment

        Except as otherwise expressly provided for in the Plan, in no event all shall any holder of
Claims if Interests be entitled to recoup any Claim of Interest against any Claim, right or account
receivable of the Debtors, the Reorganized Debtors and/or the applicable Trustee unless (a) such
holder actually provides notice thereof in writing to the Debtors, the Reorganized Debtors and/or the
applicable Trustee of its intent to perform a recoupment; (b) such notice includes the amount to be
recouped by the holder of the Claim or Interest and a specific description of the basis for the
recoupment, and (c) the Debtors and/or the applicable Trustee consents to the requested recoupment.
In the absence of a written response from the Debtors, the Reorganized Debtors and/or the applicable
Trustee consenting to a recoupment or an order of the Bankruptcy Court authorizing a recoupment,
no recoupment by the holder of a Claim or Interest shall be allowed.

                                ARTICLE XII
                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        12.1.    Executory Contracts and Unexpired Leases to be Rejected Unless Expressly
                 Assumed

       To the extent necessary and unless previously rejected, under the Restructuring Alternative,
the Plan operates as a motion under § 365 to assume all agreements, including sales and service
agreements and real estate leases under which the Debtors operate automotive/vehicle franchise
agreements at the Dealerships, including such agreements with Mitsubishi, Toyota, General Motors,



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and Ford Motor Company.10 The Confirmation Order shall constitute an order of the Bankruptcy
Court approving such assumptions and, where applicable, assignments pursuant to § 365 of the
Bankruptcy Code. All proposed cure amounts will be identified on the Schedule of Assumed
Executory Contracts and Unexpired Leases. If no such cure amount is on the Schedule of Assumed
Executory Contracts and Unexpired Leases, then the cure amount is zero. For all other Executory
Contracts or Unexpired Leases, and for the foregoing automotive/vehicle franchise agreements in the
event of the Liquidation Alternative, except as otherwise provided herein or in any order of the
Bankruptcy Court, on the Effective Date or no later than thirty (30) days after the Effective Date,
every Executory Contract and Unexpired Lease shall be deemed rejected unless it is identified on the
Schedule of Assumed Executory Contracts and Unexpired Leases. The Confirmation Order shall
constitute an order of the Bankruptcy Court approving such rejections, pursuant to § 365 of the
Bankruptcy Code, effective as of the Petition Date. Any party to an Executory Contract identified for
rejection as provided herein may, within the same deadline and in the same manner established for
Filing objections to Confirmation, File any objection thereto. Failure to file any such objection within
the time period set forth above shall constitute consent and agreement to the rejection

         Each Executory Contract on the Schedule of Assumed Executory Contracts and Unexpired
Leases shall be assumed only to the extent that it constitutes an executory contract or unexpired lease
as contemplated by § 365 of the Bankruptcy Code. Nothing contained in this Plan constitutes an
admission by the Debtors that any such contracts or leases are “executory” or that the Debtors have
any liability thereunder. Further, such assumption is subject to the same rights that the Debtors held
or hold on or after the Petition Date to modify or terminate such agreement(s) under applicable non-
bankruptcy law. If the Bankruptcy Court or any other court of competent jurisdiction determines
before, on, or after the Effective Date, that any agreement in the form of a lease of real or personal
property identified for assumption on the Schedule of Assumed Executory Contracts and Unexpired
Leases is, in fact, a secured transaction, the resulting secured indebtedness arising from such
determination shall be treated as a Class 8 Claim. Each Executory Contract assumed pursuant to this
section shall be fully enforceable by the Reorganized Debtors in accordance with its terms, except as
modified by the provisions of the Plan, any order of the Bankruptcy Court authorizing and providing
for its assumption or applicable federal law. The Debtors/Reorganized Debtors reserve the right to
modify the treatment of an Executory Contract pursuant to this Plan.

           12.2.    Approval of Assumptions

        Subject to the occurrence of the Closing, the Confirmation Order (except as otherwise
provided therein) shall approve the assumptions, revestments, and, to the extent not subject to dispute,
the cure amounts described in this Article and listed on the Schedule of Assumed Contracts pursuant
to § 365 of the Bankruptcy Code.

           12.3.    Objections to Assumption of Executory Contracts and Unexpired Leases

       Any Entity objecting to the proposed assumption of an Executory Contract based on any
ground, including a lack of adequate assurance of future performance or the adequacy of the cure
amount listed in the Schedule of Assumed Contracts and Unexpired Leases, shall File and serve a
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  Issues regarding assumption and assignment of the franchise agreements with Gulf States Toyota, Mitsubishi and
General Motors will not be sought via Confirmation of the Plan, but will instead be addressed post-confirmation on or
prior to dates to be agreed upon by the Debtors and Gulf State Toyota, Mitsubishi and General Motors.
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written objection to the proposed assumption of such Executory Contract by the same deadline and
in the same manner established for filing objections to Confirmation.

        Failure to File an objection within the time period set forth above shall constitute consent to
the assumption of those Executory Contracts by the Reorganized Debtors, including an
acknowledgment that the proposed assumption provides adequate assurance of future performance.
If any Entity files an objection to the proposed assumption of an Executory Contract by the applicable
Debtor based on any ground other than the adequacy of the cure amount set forth in the Schedule of
Assumed Contracts and Unexpired Leases, and the Bankruptcy Court ultimately determines that the
Debtors cannot assume such contract or lease or that the Debtors cannot provide adequate assurance
of future performance as proposed or in any modified proposal submitted by the Debtors, then the
Executory Contract shall automatically be deemed to have been rejected pursuant to this Article.

        12.4.    Payments Related to Assumption of Executory Contracts and Unexpired
                 Leases

         If not the subject of bona-fide dispute pursuant to this Article as of Confirmation Date,
monetary defaults, if any, under each Executory Contract to be assumed under the Plan shall be
satisfied by the Debtors pursuant to § 365(b)(1) by payment in Cash of the amount set forth in the
Schedule of Assumed Executory Contracts and Unexpired Leases or such other amount as ordered
by the Bankruptcy Court or agreed to by the parties on or as soon after the Effective Date as
practicable or on such other terms as agreed to by the parties to such Executory Contract.

        12.5.    Rejection of Executory Contracts

         The Plan constitutes and incorporates a motion by the Debtors to reject, as of the Effective
Date, all Executory Contracts to which one of the Debtors is a party, except for Executory Contracts
that (a) have been assumed or rejected pursuant to a Final Order of the Bankruptcy Court, (b) are the
subject of a separate motion pursuant to § 365 of the Bankruptcy Code to be Filed and served by the
Debtors on or before the Confirmation Date, or (c) are specifically designated on the Schedule of
Assumed Contracts and Unexpired Leases.

        12.6.    Bar Date for Rejection Damages

         If the rejection of an Executory Contract pursuant to this Article gives rise to a Claim by the
other party or parties to such Executory Contract, such Claim must be Filed with the Bankruptcy
Court by the Rejection Damages Bar Date. If such Claim is timely Filed and is an Other Secured
Claim, it shall be classified in Class 8. If such Claim is timely Filed and is a General Unsecured Claim,
it shall be classified in Class 11; provided, however, that in either event, any Claim arising from the
rejection of an Executory Contract shall be forever barred and shall not be enforceable against the
Debtors or the Estates, affiliates, successors, or properties, unless a proof of Claim is Filed by the
Rejection Damages Bar Date.

                                     ARTICLE XIII
                      RELEASES; INDEMNIFICATION; PLAN INJUNCTION



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        13.1.    Binding Effect

        Except as otherwise provided in § 1141(d)(3) of the Bankruptcy Code, and subject to the
occurrence of the Effective Date, on and after entry of the Confirmation Order, the provisions of this
Plan shall bind every Holder of a Claim against or Interest in each of the Debtors and inure to the
benefit of and be binding on such Holder’s respective successors and assigns, regardless of whether
the Claim or Interest of such Holder is impaired under this Plan and whether such Holder has accepted
the Plan.

        13.2.    Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to §§ 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in
consideration for the distributions and other benefits provided pursuant to the Plan, the provisions
of the Plan shall constitute a good-faith compromise of substantially all Claims, Interests, and
controversies relating to the contractual, legal, and subordination rights that a Holder of a Claim may
have with respect to any Allowed Claim or Interest or any Distribution to be made on account of such
Allowed Claim or Interest. Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of the compromise or settlement of all such Claims, Interests, and controversies, as well as
a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the
Debtors, the Estates, and Holders, and is fair, equitable, and reasonable. In accordance with the
provisions of the Plan, pursuant to § 363 of the Bankruptcy Code and Bankruptcy Rule 9019(a),
without any further notice to or action, order, or approval of the Bankruptcy Court, after the Effective
Date, the Trustee, in conjunction with the Reorganized Debtors, may compromise and settle Claims
against them and Causes of Action against other Entities.

        13.3.    Discharge of Claims and Termination of Interests

        Upon the Effective Date, and in consideration of the Distributions to be made under this
Plan, except as otherwise provided in this Plan or in the Confirmation Order, each Holder of a Claim
or Interest and any successor, assign, or affiliate of such Holder shall be deemed to have forever
waived, released, and discharged the Debtors of and from any and all Claims, Interests, Causes of
Action, rights, and liabilities that arose prior to the Effective Date. Except as otherwise provided in
the Plan, upon the Effective Date, all such Holders of Claims and Interests and their successors,
assigns, and affiliates shall be forever precluded and enjoined, pursuant to §§ 105, 524, and 1141 of
the Bankruptcy Code, from asserting any such discharged Claim against or terminated Interest in the
Debtors or Reorganized Debtors.                                                                              Formatted: Underline


        13.4.    Releases by a Holder of a Claim

        As of the Effective Date, except for the rights that remain in effect from and after the
  Effective Date to enforce this Plan, the Plan Supplement Documents, and the Plan Documents, for
  good and valuable consideration, including the contributions and services of the Released Parties to
  the Debtors’ reorganization, the adequacy of which is hereby confirmed, and except as otherwise
  expressly provided in the Plan or the Confirmation Order, as an integral component of this Plan,
  the Released Parties are deemed forever released and discharged by the Releasing Parties from any
  and all claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
  losses, and liabilities whatsoever, including any derivative claims, asserted or assertable on behalf of
  one or more of the Holders of Claims or other Entity, whether liquidated or unliquidated, fixed or
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  contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
  hereinafter arising, in law, equity, or otherwise, that one or more of the Holders of Claims or other
  Entities would have been legally entitled to assert in its own right (whether individually or
  collectively) or on behalf of the Debtors or the Estates or other Entities, based on or related to, or
  in any manner arising from, in whole or in part, the Debtors, the Chapter 11 Cases, the subject
  matter of or the transactions or events giving rise or related to, any Claim or Interest that is treated
  in this Plan, the Debtors’ business, contractual arrangements between the Debtors and any Released
  Party, the restructuring of any Claim before or during the Chapter 11 Cases, the Disclosure
  Statement, this Plan, the Plan Support Documents, and the negotiation, formulation, or preparation
  thereof or the terms therein, the solicitation of votes with respect to this Plan, or any act or omission,
  other than Claims or Causes of Action arising out of or related to any act or omission of a Released
  Party that is a criminal act, willful misconduct, or gross negligence.

        13.5.13.4.      Exculpation, Release, and Injunction

        (a)      Exculpation and Release

          To the extent permitted by applicable law, the Professionals of the Estates are hereby released
and exculpated from any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
Action, loss, and liability for any claim in connection with or arising out of the administration of the
Chapter 11 Cases, including, without limitation, the planning, filing or the administration of the
Chapter 11 Cases, the formulation, preparation, dissemination, approval, confirmation,
administration, or consummation of the Plan, the Disclosure Statement, the solicitation of votes for
or confirmation of the Plan or consummation or administration of the Plan, except to the extent
arising out of or related to any act or omission of such Professional that is a criminal act, willful
misconduct, or gross negligence. The protections of this section shall be in addition to, and shall not
limit, all other releases, injunctions, exculpations, and any other applicable law or rule protecting the
Professionals of the Estates and the Released Parties from liability. By accepting Distributions to this
Plan, each Holder of an Allowed Claim will be deemed to have affirmatively and specifically consented
to be bound by this Plan, including the injunctions set forth in this Plan.

        (b)(a) Injunction / Bankruptcy Court Jurisdiction                                                      Formatted: Space Before: 0 pt


         The Bankruptcy Court shall retain exclusive jurisdiction over any suit brought on any claim or
Cause of Action against a Released Party or one of the Professionals of the Estates in connection with
or arising out of the administration of the Chapter 11 Cases, including the negotiation and pursuit of
the Disclosure Statement, the Plan Supplement Documents, the Plan Documents, the Restructuring,
the solicitation of votes for, or confirmation of, this Plan, the funding of the Plan, the occurrence of
the Effective Date, the administration of this Plan or the property to be distributed under the Plan,
the issuance of securities under or in connection with this Plan or the transactions in furtherance of
any of the foregoing, and any Entity bringing such suit shall do so in the Bankruptcy Court or such
other court as the Bankruptcy Court may direct.

        13.6.13.5.      Injunction Related to Releases and Exculpation

        The Confirmation Order shall permanently enjoin the commencement or prosecution by any
Entity, whether directly, derivatively, or otherwise, of any Claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, losses, or liabilities released or exculpated pursuant
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to this Plan. , provided however, that nothing in the Confirmation Order or the Plan shall effect a release of any Claim
by the United States Government or any of its agencies or any state and local authority whatsoever, including without
limitation any Claim arising under the Internal Revenue Code, the environmental laws or any criminal laws of the
United States or any state and local authority against any party or person, nor shall anything in the Confirmation Order
or the Plan enjoin the United States or any state or local authority from bringing any claim, suit, action, or other
proceedings against any party or person for any liability of such persons whatever, including without limitation any claim,
suit or action arising under the Internal Revenue Code, the environmental laws or any criminal laws of the United States
or any state and local authority against such persons, nor shall anything in the Confirmation Order or the Plan exculpate
any party or person from any liability to the United States Government or any of its agencies or any state and local
authority whatsoever, including any liabilities arising under the Internal Revenue Code, the environmental laws or any
criminal laws of the United States or any state and local authority against any party or person.                              Formatted: No underline


         13.7.13.6.         Term of Stay or Injunctions

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases or pursuant to §§ 105 or 362 of the Bankruptcy Code or any order
of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays
contained in the Plan or the Confirmation Order), shall remain in full force and effect until the
Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall remain
in full force and effect in accordance with their terms.

         13.8.13.7.         Injunction Against Interference with Plan

         Upon entry of the Confirmation Order, all Holders of Claims and Interests and all other
parties in interest, along with their respective successors and assigns and present and former affiliates,
employees, agents, officers, directors, and principals, shall be enjoined from taking any action to
interfere with the implementation or occurrence of the Effective Date and, after the occurrence of
the Effective Date in the event of a Restructuring, shall be further enjoined from obstruction or
interference, directly or indirectly, with the business operations, business relationships, existing
contracts, or prospective contractual relationships of the Reorganized Debtors and/or any effort to
impede the Reorganized Debtors’ ability to meet the Post-Confirmation Business Plan or otherwise
perform their obligations under this Plan.

                                                ARTICLE XIV
                                               MISCELLANEOUS

         14.1.    Retention of Jurisdiction

         Notwithstanding entry of the Confirmation Order, the Bankruptcy Court shall retain
jurisdiction as is legally permissible, including, without limitation, for the following purposes:

        (a)      to determine (i) any Disputed Claims, Disputed Interests and all related Claims
accruing after the Confirmation Date including rights and liabilities under contracts giving rise to such
Claims, (ii) the validity, extent, priority and avoidability of consensual and nonconsensual Liens and
other encumbrances, (iii) preconfirmation tax liability pursuant to § 505, and (iv) controversies and
disputes regarding the interpretation of the Plan and documents executed in connection therewith;


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        (b)      to allow, disallow, estimate, liquidate or determine any Claim or Interest against a
Debtor and to enter or enforce any order requiring the filing of any such Claim or Interest before a
particular date;

        (c)     to approve all matters related to the assumption, assumption and assignment, or
rejection of any Executory Contract of the Debtor pursuant to § 365 and this Plan;

       (d)     to determine any request for payment of an Administrative Claim entitled to priority
under § 507(a)(1), including compensation of parties entitled thereto, or fees and reimbursements to
the Reorganized Debtors;

        (e)     to resolve controversies and disputes regarding the interpretation and implementation
of the Plan, any disputes relating to whether or not a timely and proper proof of Claim was Filed or
whether a Disallowed Claim or Disallowed Interest should be reinstated;

        (f)     to implement the provisions of the Plan and entry of orders in aid of confirmation and
consummation of the Plan, including any disputes concerning the enforceability or applicability of the
releases and injunctions contained herein;

        (g)      to modify the Plan pursuant to § 1127 of the Plan;

       (h)     to adjudicate any and all Causes of Action that arose in the Case prior to the
Confirmation Date or in connection with the implementation of the Plan, whether or not pending on
the Confirmation Date, including without limitation, any remands of appeals;

        (i)     to resolve disputes concerning any reserves with respect to Disputed Claims, Disputed
Interests or the administration thereof;

        (j)     to resolve disputes, including to hear, adjudicate, and resolve any matter or dispute
brought by the Reorganized Debtors or the Trustee, including (i) Claims objections and (ii) any other
matter relating to Class 11, a Creditors Trust Asset, this Plan, a Plan Document, a Plan Supplement
Document, or anything related to the Plan and the Confirmation Order;

        (k)    to resolve any disputes concerning whether a person or entity had sufficient notice of
the Case, the applicable Bar Date, the hearing on the approval of the Disclosure Statement as
containing adequate information, or the Confirmation Hearing for the purpose of determining
whether a Claim or Interest is discharged hereunder or for any other purpose;

       (l)      to determine any and all applications, Claims, Interests, pending adversary proceedings
and contested matters (including, without limitation, any adversary proceeding or other proceeding to
recharacterize agreements or reclassify Claims or Interests) in these Case;

       (m)    to enter and implement such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, revoked, modified, or vacated;

        (n)    to seek the issuance of such orders in aid of execution of the Plan, to the extent
authorized by § 1142 of the Bankruptcy Code;
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       (o)    to consider any modifications of the Plan, to cure any defect or omission, or reconcile
any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
Confirmation Order;

        (p)    to recover all Assets of the Debtors and property of the Estates, wherever located,
including any Cause of Action;

        (q)    to resolve any dispute relating to the approval and payment of the fees and expenses
of the Debtors or its respective professionals;

       (r)     to resolve matters concerning state, local, and federal taxes in accordance with §§ 346,
505, and 1146;

        (s)      to hear any other matter not inconsistent with the Bankruptcy Code;

       (t)     to resolve any and all disputes or controversies relating to distributions to be made,
and/or reserves or escrows to be established, under the Plan;

        (u)      to enter one or more final decrees closing the Case;

        (v)      to enforce the Plan, including the releases, injunctions, and exculpations granted
herein; and

        (w)      to approve settlements relating to the above.

        14.2.    Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign of
such Entity.

        14.3.    Ipso Facto and Similar Provisions Ineffective

         Any term of any policy, contract, instrument, or other obligation applicable to the Debtors
shall be void and of no further force or effect with respect to the Debtors to the extent that such
policy, contract, or other obligation is conditioned on, creates an obligation of the Debtors as a result
of or gives rise to a right of any Entity based on any of the following (a) the insolvency or financial
condition of the Debtors, (b) the commencement of the Chapter 11 Cases, and (c) the confirmation
or consummation of this Plan.

        14.4.    Cram Down

        If all of the applicable requirements for Confirmation of the Plan are met as set forth in §
1129(a) except subsection (8) thereof, the Debtors may request the Bankruptcy Court to confirm the
Plan pursuant to § 1129(b), notwithstanding the requirements of § 1129(a)(8), on the basis that the
Plan is fair and equitable as to the Creditors and does not discriminate unfairly with respect to any
Impaired Class of Claims against the Debtors that does not vote to accept the Plan as described in the

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Disclosure Statement. The Debtors reserve the right to alter the treatment of any Class in order to
effectuate a cram down under § 1129(b).

        14.5.    Modification of the Plan

        The Debtors reserve the right, in accordance with the Bankruptcy Code, to amend or modify
this Plan prior to the Confirmation Date. After the Confirmation Date, the Debtors may, upon order
of the Court, amend or modify this Plan in accordance with § 1127(b), or remedy any defect or
omission or reconcile any inconsistency in this Plan in such manner as may be necessary to carry out
the purposes and intent of this Plan.

        14.6.    Withdrawal or Revocation of the Plan

        The Debtors reserve the right to revoke or withdraw the Plan prior to the Confirmation Date.
If the Plan is revoked or withdrawn by the Debtors, or if the Confirmation Date does not occur with
respect to the Debtors, the Plan shall be of no further force or effect.

        14.7.    Notices

        All notices, requests, elections, or demands in connection with the Plan shall be in writing and
shall be deemed to have been given when received or, if mailed, five (5) days after the date of mailing
provided such writing shall have been sent by registered or certified mail, postage prepaid, return
receipt requested, and sent to the following:

        Counsel for the Debtors:        Marcus A. Helt
                                        C. Ashley Ellis
                                        Foley Gardere
                                        2021 McKinney Avenue
                                        Suite 1600
                                        Dallas, Texas 75201
                                        Telephone: (214) 999-3000
                                        Facsimile: (214) 999-4667

        To the Creditors Trustee:       Dennis Faulkner
                                        Lain, Faulkner & Co., P.C.
                                        400 N. St. Paul, Suite 600
                                        Dallas, Texas 75201
                                        Telephone: (214) 720-1929

        14.8.    Severability

        Should any term or provision of the Plan be determined by the Bankruptcy Court to be invalid,
void or unenforceable, such determination shall in no way limit or affect the enforceability or operative
effect of any other provision of the Plan. If any term or provision of the Plan is of such a character as
to deny Confirmation, the Debtors reserve the right to strike such provisions from the Plan and seek
Confirmation of the Plan as modified. Notwithstanding any such holding, alteration, or interpretation,
the remainder of the terms and provisions of the Plan will remain in full force and effect and will in
no way be affected, impaired or invalidated by such holding, alteration or interpretation. The
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Confirmation Order will constitute a judicial determination and will provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is
valid and enforceable pursuant to its terms.

        14.9.    All Claims

       This Plan is intended to deal with all Claims against and Interest in each of the Debtors of
whatever character whether or not disputed, contingent, or liquidated and whether or not allowed by
the Bankruptcy Court under § 502 of the Bankruptcy Code. However, only those Claims Allowed
under § 502 shall be entitled to receive the treatment afforded by the Plan.

        14.10. Immediate Binding Effect

         This Plan shall be binding on and inure to the benefit of each of the Debtors, the Reorganized
Debtors, all present and future Holders of Claims and Interests, and their respective successors and
assigns, and all other parties in interest in the Case. In addition, notwithstanding Bankruptcy Rules
3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the
Plan and the Plan Supplement Documents shall be immediately effective and enforceable and deemed
binding on the Debtors, the Reorganized Debtors, and any and all Holders of Claims or Interests
(irrespective of whether their Claims or Interests are deemed to have accepted the Plan), all Entities
that are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property right under the Plan, and any and all non-Debtor
parties to Executory Contracts and Unexpired Leases with one of the Debtors.

        14.11. Reservation of Rights.

         Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court enters the Confirmation Order, and the Confirmation Order shall have no force or
effect if the Effective Date does not occur. None of the filing of the Plan, any statement or provision
contained in the Plan, or the taking of any action by any Debtor with respect to the Plan, the
Disclosure Statement, or the Plan Supplement Document shall be or shall be deemed to be an
admission or waiver of any rights of any Debtor with respect to the Holders before the Effective Date.


Dated: September 3, 2019                        Respectfully submitted,
                                                Reagor-Dykes Motors, LP et al.

                                                By:     /s/ Robert Schleizer
                                                        Chief Restructuring Officer

Prepared by:

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DEBTORS-IN-POSSESSION




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